Case 2:24-cv-08280-MWC-E   Document 195-3   Filed 05/02/25   Page 1 of 65 Page ID
                                   #:8470




                           EXHIBIT 2
Case 2:24-cv-08280-MWC-E         Document 195-3   Filed 05/02/25   Page 2 of 65 Page ID
                                         #:8471



   1 DANIEL J. BERGESON, SBN 105439
     dbergeson@be-law.com
   2
     REBECCA KAUFMAN, SBN 199534
   3 rkaufman@be-law.com
     JAIDEEP VENKATESAN, SBN 211386
   4
     jvenkatesan@be-law.com
   5 ADAM C. TRIGG, SBN 261498
     atrigg@be-law.com
   6
     BERGESON, LLP
   7 111 N. Market Street, Suite 600
   8 San Jose, CA 95113
     Telephone: (408) 291-6200
   9 Facsimile: (408) 297-6000
  10
     Attorneys for Defendant PROTON
  11 MANAGEMENT LTD.
  12
  13                             UNITED STATES DISTRICT COURT
  14             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  15
  16 ELECTRIC SOLIDUS, INC. d/b/a                  Case No. 2:24-cv-8280-MWC-E
     SWAN BITCOIN, a Delaware
  17 corporation,                                  DEFENDANT PROTON
                                                   MANAGEMENT LTD’S
  18                Plaintiff,                     SUPPLEMENTAL RESPONSES
                                                   AND OBJECTIONS TO
  19        v.                                     PLAINTIFF’S SECOND SET OF
                                                   REQUESTS FOR PRODUCTION
  20 PROTON MANAGEMENT LTD., a                     OF DOCUMENTS
     British Virgin Islands corporation;
  21 THOMAS PATRICK FURLONG;
     ILIOS CORP., a California corporation;
  22 MICHAEL ALEXANDER HOLMES;
     RAFAEL DIAS MONTELEONE;
  23 SANTHIRAN NAIDOO; ENRIQUE
     ROMUALDEZ; and LUCAS
  24 VASONCELOS,
  25                Defendants.
                                                   Am. Complaint filed: January 27, 2025
  26
  27
  28

       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3     Filed 05/02/25   Page 3 of 65 Page ID
                                      #:8472



   1 PROPOUNDING PARTY: Plaintiff ELECTRIC SOLIDUS, INC. d/b/a SWAN
   2                                BITCOIN
   3 RESPONDING PARTY:              Defendant PROTON MANAGEMENT LTD
   4 SET NO.:                       Two (2)
   5         Pursuant to Federal Rule of Civil Procedure 34, Defendant PROTON
   6 MANAGEMENT LTD (“Responding Party”) submits these supplemental responses
   7 and objections to the Second Set of Requests for Production propounded by Plaintiff
   8 ELECTRIC SOLIDUS, INC. d/b/a SWAN BITCOIN (“Propounding Party”).
   9                            PRELIMINARY STATEMENT
  10         The following responses are made solely for the purpose of, and in relation to,
  11 this action. Each response is provided subject to all appropriate objections
  12 (including, without limitation, objections concerning competency, relevancy,
  13 materiality, propriety, and admissibility) that would require the exclusion of any
  14 statement contained herein if the statement were made by a witness present and
  15 testifying in court. All such objections and grounds therefore are reserved and may
  16 be interposed at the time of trial.
  17         The following responses are based on the facts and information presently
  18 known and available to Responding Party. Discovery, investigation, research, and
  19 analysis are still ongoing in this case and may disclose the existence of additional
  20 facts, add meaning to known facts, establish entirely new factual conclusions or
  21 legal contentions, or possibly lead to additions, variations, or changes to these
  22 responses. Without being obligated to do so, Responding Party reserves the right to
  23 change or supplement these responses as additional facts are discovered, revealed,
  24 recalled, or otherwise ascertained, and as further analysis and research disclose
  25 additional facts, contentions or legal theories which may apply.
  26
  27
  28
                                                 1
        PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                              PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3     Filed 05/02/25   Page 4 of 65 Page ID
                                      #:8473



   1         GENERAL OBJECTIONS TO REQUESTS FOR PRODUCTION
   2        1.      Responding Party objects to each and every request for production
   3 contained in the Requests to the extent that it seeks information that is protected
   4 from disclosure by the attorney-client privilege, work product doctrine, or any other
   5 applicable privilege or protection. Responding Party does not waive any protections
   6 or privileges by responding to the Requests. Any inadvertent disclosure of
   7 privileged information or work product in response to the Requests shall not
   8 constitute a waiver of any privilege or protection.
   9        2.      Responding Party objects to each and every request for production
  10 contained in the Requests to the extent that it purports to impose any requirement or
  11 discovery obligation on them that is inconsistent with, or not authorized by, those
  12 set forth in the Federal Rules of Civil Procedure. Responding Party will construe
  13 the Requests in a manner consistent with the Federal Rules of Civil Procedure.
  14        3.      Responding Party objects to each and every request for production
  15 contained in the Requests to the extent that it is overbroad and subjects Responding
  16 Party to unreasonable and undue annoyance, oppression, embarrassment, burden,
  17 and expense, and seeks information which is beyond the scope of permissible
  18 discovery and is neither relevant to any party’s claims or defenses nor proportional
  19 to the needs of the case.
  20        4.      Responding Party objects to each and every request for production
  21 contained in the Requests to the extent that it is ambiguous, confusing, or vague.
  22        5.      Responding Party objects to each and every request for production
  23 contained in the Requests to the extent that it is unreasonably cumulative or
  24 duplicative.
  25        6.      Responding Party objects to each and every request for production
  26 contained in the Requests to the extent that it would require Responding Party to
  27 draw a legal conclusion in order to make a proper response.
  28
                                                2
        PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                              PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3     Filed 05/02/25    Page 5 of 65 Page ID
                                      #:8474



   1         7.    Responding Party objects to each and every request for production
   2 contained in the Requests to the extent that it seeks information (i) which is a matter
   3 of public record, (ii) which is not in the possession, custody or control of
   4 Responding Party and/or (iii) which is equally or more readily available from
   5 another source, including Propounding Party’s own files and records, that is more
   6 convenient, less burdensome, or less expensive to Responding Party.
   7         8.    Responding Party objects to each and every request for production
   8 contained in the Requests to the extent that it calls for the production of confidential,
   9 proprietary, trade-secret, or other information in which individuals, including non-
  10 parties, have an expectation of privacy. Responding Party further objects to each
  11 and every request for production contained in the Requests to the extent it seeks
  12 information protected by the privacy protection of the California Constitution, or
  13 any other law, statute, or doctrine.
  14         9.    Responding Party objects to each and every request for production
  15 contained in the Requests on the grounds that it is not restricted to a reasonable and
  16 relevant time period and is therefore unduly burdensome to Responding Party.
  17         10.   Responding Party objects to the Requests to the extent that it seeks to
  18 use the discovery process in this action to obtain documents for any purpose other
  19 than for use in connection with claims and defenses currently raised in this action.
  20         11.   The fact that Responding Party has responded or objected to any
  21 document requests, or part thereof, should not be taken as an admission that
  22 Responding Party accepts that the document request or the response or the objection
  23 thereto constitutes admissible evidence.
  24         12.   Responding Party reserves the right to supplement, modify or otherwise
  25 change their response to the Requests as they develop new, better, additional or
  26 different information.
  27                          OBJECTIONS TO DEFINITIONS
  28
                                                 3
        PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                              PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E       Document 195-3    Filed 05/02/25   Page 6 of 65 Page ID
                                       #:8475



   1         1.    Responding Party objects to the definition of “Communication” as
   2 overly broad, unduly burdensome, vague, ambiguous and unintelligible to the extent
   3 it includes “whether or not the Communication was ever disclosed, sent, or
   4 transmitted.” For purposes of responding to the Requests, Responding Party will
   5 exclude the portion noted above from the definition of “Communications” in the
   6 Requests, and interpret the otherwise overbroad definition not to impose a burden
   7 beyond what is required by the Federal Rules of Civil Procedure, the Federal Rules
   8 of Evidence, and the Local Civil Rules of the U.S. District Court for the Central
   9 District of California.
  10         2.    Responding Party objects to the definition of “Documents” as overly
  11 broad, unduly burdensome, vague, ambiguous and unintelligible to the extent it
  12 includes “whether or not the Communication was ever disclosed, sent, or
  13 transmitted.” For purposes of responding to the Requests, Responding Party will
  14 exclude the portion noted above from the definition of “Documents” in the
  15 Requests, and interpret the otherwise overbroad definition not to impose a burden
  16 beyond what is required by the Federal Rules of Civil Procedure, the Federal Rules
  17 of Evidence, and the Local Civil Rules of the U.S. District Court for the Central
  18 District of California.
  19         3.    Responding Party object to the definition of “Proton” or “You” as
  20 overly broad, unduly burdensome, vague, ambiguous and unintelligible to the extent
  21 that it includes “any of its members, employees, representatives, officers, directors,
  22 managers, agents, attorneys, assigns, predecessors, affiliates, parents, subsidiaries,
  23 and any other entities or Persons acting or purporting to act on its behalf.” For
  24 purposes of responding to the Requests, Responding Party will interpret “Proton” or
  25 “You” as referring to Defendant Proton Management Ltd.
  26         4.    Responding Party object to the definition of “Elektron” as overly
  27 broad, unduly burdensome, vague, ambiguous and unintelligible to the extent that it
  28 includes “any of its members, employees, representatives, officers, directors,
                                             4
        PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                              PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E       Document 195-3    Filed 05/02/25     Page 7 of 65 Page ID
                                       #:8476



   1 managers, agents, attorneys, assigns, predecessors, affiliates, parents, subsidiaries,
   2 and any other entities or Persons acting or purporting to act on its behalf.” For
   3 purposes of responding to the Requests, Responding Party will interpret “Elektron
   4 Energy” as referring to Elektron Management LLC or Elektron Enterprises LLC as
   5 stated in the response.
   6         5.    Responding Party objects to the definition of “Concern” or
   7 “Concerning” as overly broad, unduly burdensome, vague, ambiguous and
   8 unintelligible to the extent it includes “whether or not the Communication was ever
   9 disclosed, sent, or transmitted.” For purposes of responding to the Requests,
  10 Responding Party will exclude the portion noted above from the definition of
  11 “Concern” or “Concerning” in the Requests, and interpret the otherwise overbroad
  12 definition not to impose a burden beyond what is required by the Federal Rules of
  13 Civil Procedure, the Federal Rules of Evidence, and the Local Civil Rules of the
  14 U.S. District Court for the Central District of California.
  15         6.    Responding Party objects to the definition of “Complaint” as overly
  16 broad, unduly burdensome, vague, ambiguous and unintelligible. For purposes of
  17 responding to the Requests, Responding Party will interpret “Complaint” as
  18 referring to the most recent complaint filed in this Action.
  19         7.    Responding Party objects to the definition of “Person” or “Persons” as
  20 overly broad, unduly burdensome, vague, ambiguous and unintelligible. For
  21 purposes of responding to the Requests, Responding Party will exclude the portion
  22 noted above from the definition of “Person” or “Persons” in the Requests, and
  23 interpret the otherwise overbroad definition not to impose a burden beyond what is
  24 required by the Federal Rules of Civil Procedure, the Federal Rules of Evidence,
  25 and the Local Civil Rules of the U.S. District Court for the Central District of
  26 California.
  27         8.    Responding Party object to the definition of “Swan” as overly broad,
  28 unduly burdensome, vague, ambiguous and unintelligible to the extent that it
                                           5
        PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                              PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3     Filed 05/02/25   Page 8 of 65 Page ID
                                      #:8477



   1 includes “any of its members, employees, representatives, officers, directors,
   2 managers, agents, attorneys, assigns, predecessors, affiliates, parents, subsidiaries,
   3 and any other entities or Persons acting or purporting to act on its behalf.” For
   4 purposes of responding to the Requests, Responding Party will interpret “Swan” as
   5 referring to Plaintiff Electric Solidus, Inc. d/b/a Swan Bitcoin.
   6         9.    Responding Party object to the definition of “Tether” as overly broad,
   7 unduly burdensome, vague, ambiguous and unintelligible to the extent that it
   8 includes “any of its members, employees, representatives, officers, directors,
   9 managers, agents, attorneys, assigns, predecessors, affiliates, parents, subsidiaries,
  10 and any other entities or Persons acting or purporting to act on its behalf.” For
  11 purposes of responding to the Requests, Responding Party will interpret “Tether” as
  12 referring to Tether Investment Ltd.
  13         10.   Responding Party object to the definition of “Marlin Capital” as
  14 overly broad, unduly burdensome, vague, ambiguous and unintelligible to the extent
  15 that it includes “any of its members, employees, representatives, officers, directors,
  16 managers, agents, attorneys, assigns, predecessors, affiliates, parents, subsidiaries,
  17 and any other entities or Persons acting or purporting to act on its behalf.” For
  18 purposes of responding to the Requests, Responding Party will interpret “Marlin
  19 Capital” as referring to Marlin Capital Partners.
  20         11.   Responding Party object to the definition of “2040 Energy” as overly
  21 broad, unduly burdensome, vague, ambiguous and unintelligible to the extent that it
  22 includes “any of its members, employees, representatives, officers, directors,
  23 managers, agents, attorneys, assigns, predecessors, affiliates, parents, subsidiaries,
  24 and any other entities or Persons acting or purporting to act on its behalf.” For
  25 purposes of responding to the Requests, Responding Party will interpret “2040
  26 Energy” as referring to 2040 Energy Ltd.
  27         12.   Responding Party objects to the definition of “Mining Site” as overly
  28 broad, unduly burdensome, vague, ambiguous and unintelligible, including with
                                           6
        PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                              PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E       Document 195-3      Filed 05/02/25   Page 9 of 65 Page ID
                                       #:8478



   1 regards to its statement that a “virtual site” and that a “Mining Site typically
   2 includes specialized mining hardware such as application-specific integrated circuits
   3 (“ASICs”), power supply systems, and cooling systems”. Responding Party will
   4 interpret “Mining Site” as referring to a physical location where application-specific
   5 integrated circuits (ASICs) are used to conduct bitcoin mining.
   6         13.    Responding Party objects to the definition of “Swan’s Trade Secrets”
   7 as overly broad, unduly burdensome, vague, and ambiguous, including as it purports
   8 to incorporate by reference “Swan’s Complaint” and “Swan’s Identification of
   9 Asserted Trade Secrets (dated February 14, 2025).
  10         14.    Responding Party objects to the definition of “Swan’s BNOC” as
  11 overly broad, unduly burdensome, vague, ambiguous and unintelligible including as
  12 it purports to incorporate “Paragraphs 73-79 of the Complaint”. Responding Party
  13 will interpret “Swan’s BNOC” as referring to the Bitcoin Network Operating
  14 Center dashboard developed for 2040 Energy, without any admission with respect to
  15 any claim that BNOC is proprietary to Propounding Party.
  16                 RESPONSES TO REQUESTS FOR PRODUCTION
  17 REQUEST FOR PRODUCTION NO. 5:
  18         Documents sufficient to show Proton’s corporate structure, including but not
  19 limited to Documents sufficient to identify Proton’s parents, subsidiaries, and
  20 affiliates, as well as the identities of Proton’s board of directors, officers, and
  21 managers.
  22 SUPPLEMENTAL SUPPLEMENTAL RESPONSE TO REQUEST FOR
  23 PRODUCTION NO. 5:
  24         Responding Party incorporates by references the General Objections and
  25 Objections to Definitions above as if fully set forth herein. Responding Party
  26 objects to this request to the extent that it seeks information that is protected from
  27 disclosure by the attorney-client privilege, work product doctrine, or any other
  28 applicable privilege or protection. Responding Party objects to this request to the
                                               7
        PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                              PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25        Page 10 of 65 Page
                                    ID #:8479



  1 extent that it is unreasonably cumulative or duplicative of other requests for
  2 production. Responding Party objects to the request to the extent that it purports to
  3 require Responding Party to produce documents that contain trade secrets of
  4 Responding Party, or other confidential business, financial, proprietary, or sensitive
  5 information of Responding Party or third parties without entry of a satisfactory
  6 confidentiality order.
  7         Subject to and without waiving the foregoing objections, Responding Party
  8 will produce non-privileged documents responsive to this request after the entry of a
  9 protective order.
 10 REQUEST FOR PRODUCTION NO. 6:
 11         Organizational charts for Proton’s employees and consultants, including
 12 names, titles, and reporting lines.
 13 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 6:
 14         Responding Party incorporates by references the General Objections and
 15 Objections to Definitions above as if fully set forth herein. Responding Party
 16 objects to this request to the extent that it seeks information that is protected from
 17 disclosure by the attorney-client privilege, work product doctrine, or any other
 18 applicable privilege or protection. Responding Party objects to this request to the
 19 extent that it is unreasonably cumulative or duplicative of other requests for
 20 production. Responding Party objects to the request to the extent that it purports to
 21 require Responding Party to produce documents that contain trade secrets of
 22 Responding Party, or other confidential business, financial, proprietary, or sensitive
 23 information of Responding Party or third parties without entry of a satisfactory
 24 confidentiality order.
 25         Subject to and without waiving the foregoing objections, Responding Party
 26 will produce non-privileged documents responsive to this request after the entry of a
 27 protective order.
 28
                                                8
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 11 of 65 Page
                                    ID #:8480



  1 REQUEST FOR PRODUCTION NO. 7:
  2         All Documents and Communications concerning Proton’s formation and
  3 registration, including but not limited to Documents and Communications
  4 concerning who caused Proton’s incorporation and on which date that person did so,
  5 as well as all communications San Naidoo and Alex Holmes exchanged with anyone
  6 regarding Proton’s formation and registration.
  7 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 7:
  8         Responding Party incorporates by references the General Objections and
  9 Objections to Definitions above as if fully set forth herein. Responding Party objects
 10 to this request to the extent that it seeks information that is protected from disclosure
 11 by the attorney-client privilege, work product doctrine, or any other applicable
 12 privilege or protection. Responding Party also objects to this request’s demand as
 13 being compound, overbroad, overly burdensome, and harassing, and as seeking
 14 documents that are not relevant to the claims or defenses in this action. Responding
 15 Party further objects to this request on the grounds that it is vague, overbroad and
 16 subjects Responding Party to unreasonable and undue burden and expense.
 17 Responding Party also objects to this request on the grounds and to the extent that it
 18 seeks information that is not in the possession, custody or control of Responding
 19 Party and/or is equally or more readily available from another source which is more
 20 convenient, less burdensome, or less expensive. Responding Party objects to this
 21 request to the extent that it is unreasonably cumulative or duplicative of other
 22 requests for production. Responding Party objects to the request therein, to the
 23 extent that it purports to require Responding Party to produce documents that
 24 contain trade secrets of Responding Party, or other confidential business, financial,
 25 proprietary, or sensitive information of Responding Party or third parties without
 26 entry of a satisfactory confidentiality order. Responding Party also objects to this
 27 request for “All Documents and Communications” on the grounds that it is
 28 overbroad and subjects Responding Party to unreasonable and undue annoyance,
                                           9
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25         Page 12 of 65 Page
                                    ID #:8481



  1 oppression, burden, and expense. Responding Party objects that this request is
  2 vague and ambiguous, including in its use of the phrase “concerning Proton’s
  3 formation and registration”.
  4          Subject to and without waiving the foregoing objections, Responding Party
  5 will produce non-privileged documents responsive to this request located after a
  6 reasonable search, if any, after the entry of a protective order.
  7 REQUEST FOR PRODUCTION NO. 8:
  8          Documents sufficient to show Elektron’s corporate structure, including but
  9 not limited to Documents sufficient to identify Elektron’s owners, parents,
 10 subsidiaries, and affiliates, as well as the identities of Elektron’s board of directors,
 11 officers, and managers.
 12 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 8:
 13          Responding Party incorporates by references the General Objections and
 14 Objections to Definitions above as if fully set forth herein. Responding Party objects
 15 to this request to the extent that it seeks information that is protected from disclosure
 16 by the attorney-client privilege, work product doctrine, or any other applicable
 17 privilege or protection. Responding Party objects to this request to the extent that it
 18 is unreasonably cumulative or duplicative of other requests for production.
 19 Responding Party objects to the term “Elektron” as overly broad, unduly
 20 burdensome, vague, ambiguous and unintelligible. Responding Party objects to the
 21 request to the extent that it purports to require Responding Party to produce
 22 documents that contain trade secrets of Responding Party, or other confidential
 23 business, financial, proprietary, or sensitive information of Responding Party or
 24 third parties without entry of a satisfactory confidentiality order.
 25          Subject to and without waiving the foregoing objections, Responding Party
 26 will produce non-privileged documents responsive to this request related to Elektron
 27 Management LLC and Elektron Enterprises LLC, after the entry of a protective
 28 order.
                                                10
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 13 of 65 Page
                                    ID #:8482



  1 REQUEST FOR PRODUCTION NO. 9:
  2          Organizational charts for Elektron’s employees and consultants, including
  3 names, titles, and reporting lines.
  4 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 9:
  5          Responding Party incorporates by references the General Objections and
  6 Objections to Definitions above as if fully set forth herein. Responding Party objects
  7 to this request to the extent that it seeks information that is protected from disclosure
  8 by the attorney-client privilege, work product doctrine, or any other applicable
  9 privilege or protection. Responding Party objects to this request to the extent that it
 10 is unreasonably cumulative or duplicative of other requests for production.
 11 Responding Party objects to the term “Elektron” as overly broad, unduly
 12 burdensome, vague, ambiguous and unintelligible. Responding Party objects to the
 13 request to the extent that it purports to require Responding Party to produce
 14 documents that contain trade secrets of Responding Party, or other confidential
 15 business, financial, proprietary, or sensitive information of Responding Party or
 16 third parties without entry of a satisfactory confidentiality order.
 17          Subject to and without waiving the foregoing objections, Responding Party
 18 will produce non-privileged documents responsive to this request related to Elektron
 19 Management LLC and Elektron Enterprises LLC, after the entry of a protective
 20 order.
 21 REQUEST FOR PRODUCTION NO. 10:
 22          All Documents and Communications concerning Elektron’s formation and
 23 registration, including but not limited to Documents and Communications
 24 concerning who caused Elektron’s incorporation and on which date that person did
 25 so.
 26 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 10:
 27          Responding Party incorporates by references the General Objections and
 28 Objections to Definitions above as if fully set forth herein. Responding Party objects
                                              11
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 14 of 65 Page
                                    ID #:8483



  1 to this request to the extent that it seeks information that is protected from disclosure
  2 by the attorney-client privilege, work product doctrine, or any other applicable
  3 privilege or protection. Responding Party also objects to this request’s demand as
  4 being compound, overbroad, overly burdensome, and harassing, and as seeking
  5 documents that are not relevant to the claims or defenses in this action. Responding
  6 Party further objects to this request on the grounds that it is vague, overbroad and
  7 subjects Responding Party to unreasonable and undue burden and expense.
  8 Responding Party also objects to this request on the grounds and to the extent that it
  9 seeks information that is not in the possession, custody or control of Responding
 10 Party and/or is equally or more readily available from another source which is more
 11 convenient, less burdensome, or less expensive. Responding Party objects to this
 12 request to the extent that it is unreasonably cumulative or duplicative of other
 13 requests for production. Responding Party objects to the request to the extent that it
 14 purports to require Responding Party to produce documents that contain trade
 15 secrets of Responding Party, or other confidential business, financial, proprietary, or
 16 sensitive information of Responding Party or third parties without entry of a
 17 satisfactory confidentiality order. Responding Party objects that this request is vague
 18 and ambiguous, including in its use of the phrase “Elektron’s formation and
 19 registration”. Responding Party objects to the term “Elektron” as overly broad,
 20 unduly burdensome, vague, ambiguous and unintelligible. Responding Party also
 21 objects to this request for “All Documents and Communications” on the grounds
 22 that it is overbroad and subjects Responding Party to unreasonable and undue
 23 annoyance, oppression, burden, and expense.
 24         Subject to and without waiving the foregoing objections, Responding Party
 25 will produce non-privileged documents responsive to this request related to Elektron
 26 Management LLC and Elektron Enterprises LLC located after a reasonable search,
 27 after the entry of a protective order.
 28
                                               12
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25        Page 15 of 65 Page
                                    ID #:8484



  1 REQUEST FOR PRODUCTION NO. 11:
  2         Documents sufficient to identify all persons who have been or are engaged to
  3 do work on Your behalf related to Bitcoin mining, including but not limited to those
  4 identifying Your employees, consultants, and other agents, including Documents
  5 sufficient to identify those persons’ roles and responsibilities and the dates of their
  6 engagements.
  7 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 11:
  8         Responding Party incorporates by references the General Objections and
  9 Objections to Definitions above as if fully set forth herein. Responding Party objects
 10 to this request to the extent that it seeks information that is protected from disclosure
 11 by the attorney-client privilege, work product doctrine, or any other applicable
 12 privilege or protection. Responding Party objects to this request to the extent that it
 13 is unreasonably cumulative or duplicative of other requests for production.
 14 Responding Party objects to the request to the extent that it purports to require
 15 Responding Party to produce documents that contain trade secrets of Responding
 16 Party, or other confidential business, financial, proprietary, or sensitive information
 17 of Responding Party or third parties without entry of a satisfactory confidentiality
 18 order. Responding Party objects that this request is vague and ambiguous and
 19 overbroad, including in its use of the phrase “Your.” Responding Party will
 20 interpret “Your” to mean Proton Management Ltd.
 21         Subject to and without waiving the foregoing objections, Responding Party
 22 will produce non-privileged documents responsive to this request after the entry of a
 23 protective order.
 24 REQUEST FOR PRODUCTION NO. 12:
 25         All agreements and Communications related to agreements between You and
 26 any other person concerning Bitcoin mining, as well as any drafts, term sheets, or
 27 amendments related to same, as well as Communications related to the negotiation
 28 or execution of same, and including but not limited to (i) agreements between You
                                             13
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 16 of 65 Page
                                    ID #:8485



  1 and third parties and (ii) agreements between Your employees, consultants, and
  2 other agents and third parties.
  3 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 12:
  4         Responding Party incorporates by references the General Objections and
  5 Objections to Definitions above as if fully set forth herein. Responding Party objects
  6 to this request to the extent that it seeks information that is protected from disclosure
  7 by the attorney-client privilege, work product doctrine, or any other applicable
  8 privilege or protection. Responding Party objects to this request to the extent that it
  9 is unreasonably cumulative or duplicative of other requests for production.
 10 Responding Party objects to the request to the extent that it purports to require
 11 Responding Party to produce documents that contain trade secrets of Responding
 12 Party, or other confidential business, financial, proprietary, or sensitive information
 13 of Responding Party or third parties without entry of a satisfactory confidentiality
 14 order. Responding Party also objects to this request for “All Agreements and
 15 Communications” on the grounds that it is overbroad and subjects Responding Party
 16 to unreasonable and undue annoyance, oppression, burden, and expense.
 17 Responding Party objects that this request is vague and ambiguous and overbroad,
 18 including in its use of the phrase “You.” Responding Party will interpret “You” to
 19 mean Proton Management Ltd.
 20         Subject to and without waiving the foregoing objections, Responding Party
 21 will produce non-privileged documents responsive to this request after the entry of a
 22 protective order.
 23 REQUEST FOR PRODUCTION NO. 13:
 24         Your agreements with the following persons, including but not limited to
 25 these persons’ employment or consulting agreements with You: Thomas Patrick
 26 Furlong, Alex Holmes, Ilios Corp., Rafael Dias Monteleone, San Naidoo, Enrique
 27 Romualdez, Lucas Vasconcelos, Aleksander Dozic, Bill Belitsky, Kar Sola, Raphael
 28 Zagury, Brett Hiley, Max Berg, Tyler Effertz.
                                            14
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 17 of 65 Page
                                    ID #:8486



  1 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 13:
  2         Responding Party incorporates by references the General Objections and
  3 Objections to Definitions above as if fully set forth herein. Responding Party objects
  4 to this request to the extent that it seeks information that is protected from disclosure
  5 by the attorney-client privilege, work product doctrine, or any other applicable
  6 privilege or protection. Responding Party objects to this request to the extent that it
  7 is unreasonably cumulative or duplicative of other requests for production.
  8 Responding Party objects to the request to the extent that it purports to require
  9 Responding Party to produce documents that contain trade secrets of Responding
 10 Party, or other confidential business, financial, proprietary, or sensitive information
 11 of Responding Party or third parties without entry of a satisfactory confidentiality
 12 order. Responding Party objects that this request is vague and ambiguous and
 13 overbroad, including in its use of the phrase “Your.” Responding Party will
 14 interpret “Your” to mean Proton Management Ltd.
 15         Subject to and without waiving the foregoing objections, Responding Party
 16 will produce non-privileged documents responsive to this request after the entry of a
 17 protective order.
 18 REQUEST FOR PRODUCTION NO. 14:
 19         All Documents and Communications related to the hiring (whether as an
 20 employee, consultant, or in another role) of Thomas Patrick Furlong, Alex Holmes,
 21 Ilios Corp., Rafael Dias Monteleone, San Naidoo, Enrique Romualdez, Lucas
 22 Vasconcelos, Aleksander Dozic, Bill Belitsky, Kar Sola, Raphael Zagury, Brett
 23 Hiley, Max Berg, and Tyler Effertz, including but not limited to their respective
 24 personnel files and human resource records.
 25 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 14:
 26         Responding Party incorporates by references the General Objections and
 27 Objections to Definitions above as if fully set forth herein. Responding Party objects
 28 to this request to the extent that it seeks information that is protected from disclosure
                                                 15
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 18 of 65 Page
                                    ID #:8487



  1 by the attorney-client privilege, work product doctrine, or any other applicable
  2 privilege or protection. Responding Party objects to this request to the extent that it
  3 is unreasonably cumulative or duplicative of other requests for production.
  4 Responding Party objects to the request to the extent that it purports to require
  5 Responding Party to produce documents that contain trade secrets of Responding
  6 Party, or other confidential business, financial, proprietary, or sensitive information
  7 of Responding Party or third parties without entry of a satisfactory confidentiality
  8 order. Responding Party also objects to this request for “All Documents and
  9 Communications” on the grounds that it is overbroad and subjects Responding Party
 10 to unreasonable and undue annoyance, oppression, burden, and expense.
 11 Responding Party objects that this request is vague and ambiguous and overbroad,
 12 regarding the phrase “the hiring (whether as an employee, consultant, or in another
 13 role) of.” Responding Party will interpret this request to apply to the hiring by
 14 Proton Management Ltd.
 15         Subject to and without waiving the foregoing objections, Responding Party
 16 will produce non-privileged documents responsive to this request located after a
 17 reasonable search, after the entry of a protective order.
 18 REQUEST FOR PRODUCTION NO. 15:
 19         All Documents and Communications concerning Your hiring (whether as an
 20 employee, consultant, or in any other role) any additional personnel or consultants to
 21 work in roles related to Bitcoin mining.
 22 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 15:
 23         Responding Party incorporates by references the General Objections and
 24 Objections to Definitions above as if fully set forth herein. Responding Party objects
 25 to this request to the extent that it seeks information that is protected from disclosure
 26 by the attorney-client privilege, work product doctrine, or any other applicable
 27 privilege or protection. Responding Party objects to this request to the extent that it
 28 is unreasonably cumulative or duplicative of other requests for production.
                                            16
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25        Page 19 of 65 Page
                                    ID #:8488



  1 Responding Party objects to the request to the extent that it purports to require
  2 Responding Party to produce documents that contain trade secrets of Responding
  3 Party, or other confidential business, financial, proprietary, or sensitive information
  4 of Responding Party or third parties without entry of a satisfactory confidentiality
  5 order. Responding Party also objects to this request for “All Documents and
  6 Communications” on the grounds that it is overbroad and subjects Responding Party
  7 to unreasonable and undue annoyance, oppression, burden, and expense.
  8 Responding Party objects that this request is vague and ambiguous and overbroad,
  9 including in its use of the phrase “Your.” Responding Party will interpret “Your” to
 10 mean Proton Management Ltd.
 11         Subject to and without waiving the foregoing objections, Responding Party
 12 will produce non-privileged documents responsive to this request located after a
 13 reasonable search, after the entry of a protective order.
 14 REQUEST FOR PRODUCTION NO. 16:
 15         All Documents and Communications concerning Your assuming, taking over,
 16 being engaged to work on or otherwise working on responsibilities and/or roles
 17 related to Bitcoin mining that were previously maintained or held by Swan.
 18 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 16:
 19         Responding Party incorporates by references the General Objections and
 20 Objections to Definitions above as if fully set forth herein. Responding Party
 21 objects to this request to the extent that it seeks information that is protected from
 22 disclosure by the attorney-client privilege, work product doctrine, or any other
 23 applicable privilege or protection. Responding Party also objects to this request’s
 24 demand as being compound, overbroad, overly burdensome, and harassing, and as
 25 seeking documents that are not relevant to the claims or defenses in this action.
 26 Responding Party further objects to this request on the grounds that it is vague,
 27 overbroad and subjects Responding Party to unreasonable and undue burden and
 28 expense. Responding Party also objects to this request on the grounds and to the
                                            17
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25        Page 20 of 65 Page
                                    ID #:8489



  1 extent that it seeks information that is not in the possession, custody or control of
  2 Responding Party and/or is equally or more readily available from another source
  3 which is more convenient, less burdensome, or less expensive. Responding Party
  4 objects to this request to the extent that it is unreasonably cumulative or duplicative
  5 of other requests for production. Responding Party objects to the request to the
  6 extent that it purports to require Responding Party to produce documents that
  7 contain trade secrets of Responding Party, or other confidential business, financial,
  8 proprietary, or sensitive information of Responding Party or third parties without
  9 entry of a satisfactory confidentiality order. Responding Party also objects to this
 10 request for “All Documents and Communications” on the grounds that it is
 11 overbroad and subjects Responding Party to unreasonable and undue annoyance,
 12 oppression, burden, and expense. Responding Party objects that this request is
 13 vague and ambiguous, including in its use of the phrase “assuming, taking over,
 14 being engaged to work on or otherwise working on”. Responding Party further
 15 objects to this Request on the grounds that Propounding Party has failed to comply
 16 with Cal. Civ. Proc. Code § 2019.210, which requires Propounding Party to identify
 17 with reasonable particularly the trade secrets it alleges that any defendant
 18 misappropriated before commencing discovery, as required by Section H of the
 19 Court’s Scheduling Order (Dkt. 95).
 20 REQUEST FOR PRODUCTION NO. 17:
 21         All Documents and Communications concerning the specific methods, tools
 22 models, or techniques that you use to select sites for, manage, operate, monitor, or
 23 otherwise oversee Bitcoin mining operations.
 24 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 17:
 25         Responding Party incorporates by references the General Objections and
 26 Objections to Definitions above as if fully set forth herein. Responding Party
 27 objects to this request to the extent that it seeks information that is protected from
 28 disclosure by the attorney-client privilege, work product doctrine, or any other
                                               18
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 21 of 65 Page
                                    ID #:8490



  1 applicable privilege or protection. Responding Party also objects to this request’s
  2 demand as being compound, overbroad, overly burdensome, and harassing, and as
  3 seeking documents that are not relevant to the claims or defenses in this action.
  4 Responding Party further objects to this request on the grounds that it is vague,
  5 overbroad and subjects Responding Party to unreasonable and undue burden and
  6 expense. Responding Party also objects to this request on the grounds and to the
  7 extent that it seeks information that is not in the possession, custody or control of
  8 Responding Party and/or is equally or more readily available from another source
  9 which is more convenient, less burdensome, or less expensive. Responding Party
 10 objects to this request to the extent that it is unreasonably cumulative or duplicative
 11 of other requests for production. Responding Party objects to the request to the
 12 extent that it purports to require Responding Party to produce documents that
 13 contain trade secrets of Responding Party, or other confidential business, financial,
 14 proprietary, or sensitive information of Responding Party or third parties without
 15 entry of a satisfactory confidentiality order. Responding Party also objects to this
 16 request for “All Documents and Communications” on the grounds that it is
 17 overbroad and subjects Responding Party to unreasonable and undue annoyance,
 18 oppression, burden, and expense. Responding Party objects that this request is
 19 vague and ambiguous, including in its use of the phrase “specific methods, tools
 20 models, or techniques that you use to select sites for, manage, operate, monitor, or
 21 otherwise oversee Bitcoin mining operations”. Responding Party further objects to
 22 this Request on the grounds that Propounding Party has failed to comply with Cal.
 23 Civ. Proc. Code § 2019.210, which requires Propounding Party to identify with
 24 reasonable particularly the trade secrets it alleges that any defendant
 25 misappropriated before commencing discovery, as required by Section H of the
 26 Court’s Scheduling Order (Dkt. 95).
 27 REQUEST FOR PRODUCTION NO. 18:
 28         Documents sufficient to identify all Mining Sites at which You manage,
                                               19
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25        Page 22 of 65 Page
                                    ID #:8491



  1 operate, or otherwise oversee Bitcoin mining operations.
  2 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 18:
  3         Responding Party incorporates by references the General Objections and
  4 Objections to Definitions above as if fully set forth herein. Responding Party
  5 objects to this request to the extent that it seeks information that is protected from
  6 disclosure by the attorney-client privilege, work product doctrine, or any other
  7 applicable privilege or protection. Responding Party objects to this request to the
  8 extent that it is unreasonably cumulative or duplicative of other requests for
  9 production. Responding Party objects to the request to the extent that it purports to
 10 require Responding Party to produce documents that contain trade secrets of
 11 Responding Party, or other confidential business, financial, proprietary, or sensitive
 12 information of Responding Party or third parties without entry of a satisfactory
 13 confidentiality order. Responding Party further objects to this Request on the
 14 grounds that Propounding Party has failed to comply with Cal. Civ. Proc. Code §
 15 2019.210, which requires Propounding Party to identify with reasonable particularly
 16 the trade secrets it alleges that any defendant misappropriated before commencing
 17 discovery, as required by Section H of the Court’s Scheduling Order (Dkt. 95).
 18 REQUEST FOR PRODUCTION NO. 19:
 19         Documents sufficient to show Bitcoin mining operations that You considered
 20 or planned to manage, operate, or otherwise oversee, or that any other Person asked,
 21 suggested, or discussed Your managing, operating, or otherwise overseeing,
 22 including Documents and Communications concerning the specific methods, tools,
 23 models, or techniques that you considered or planned to use in connection with such
 24 mining operations.
 25 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 19:
 26         Responding Party incorporates by references the General Objections and
 27 Objections to Definitions above as if fully set forth herein. Responding Party
 28 objects to this request to the extent that it seeks information that is protected from
                                                 20
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25        Page 23 of 65 Page
                                    ID #:8492



  1 disclosure by the attorney-client privilege, work product doctrine, or any other
  2 applicable privilege or protection. Responding Party objects to this request to the
  3 extent that it is unreasonably cumulative or duplicative of other requests for
  4 production. Responding Party objects to the request to the extent that it purports to
  5 require Responding Party to produce documents that contain trade secrets of
  6 Responding Party, or other confidential business, financial, proprietary, or sensitive
  7 information of Responding Party or third parties without entry of a satisfactory
  8 confidentiality order. Responding Party objects that this request is vague and
  9 ambiguous, including in its use of the phrases “considered or planned” and “Bitcoin
 10 mining operations, managing, operating, or otherwise overseeing”. Responding
 11 Party further objects to this Request on the grounds that Propounding Party has
 12 failed to comply with Cal. Civ. Proc. Code § 2019.210, which requires Propounding
 13 Party to identify with reasonable particularly the trade secrets it alleges that any
 14 defendant misappropriated before commencing discovery, as required by Section H
 15 of the Court’s Scheduling Order (Dkt. 95).
 16 REQUEST FOR PRODUCTION NO. 20:
 17         All Documents and Communications concerning the decrease or cessation of
 18 Bitcoin mining operations at any Mining Sites that Swan previously managed,
 19 operated, or otherwise engaged with, including but not limited to Communications
 20 and Documents regarding the removal of Bitcoin mining hardware, such as ASICs,
 21 power supply systems, and cooling systems, from those sites.
 22 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 20:
 23         Responding Party incorporates by references the General Objections and
 24 Objections to Definitions above as if fully set forth herein. Responding Party
 25 objects to this request to the extent that it seeks information that is protected from
 26 disclosure by the attorney-client privilege, work product doctrine, or any other
 27 applicable privilege or protection. Responding Party also objects to this request’s
 28 demand as being compound, overbroad, overly burdensome, and harassing, and as
                                         21
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 24 of 65 Page
                                    ID #:8493



  1 seeking documents that are not relevant to the claims or defenses in this action.
  2 Responding Party further objects to this request on the grounds that it is vague,
  3 overbroad and subjects Responding Party to unreasonable and undue burden and
  4 expense. Responding Party also objects to this request on the grounds and to the
  5 extent that it seeks information that is not in the possession, custody or control of
  6 Responding Party and/or is equally or more readily available from another source
  7 which is more convenient, less burdensome, or less expensive. Responding Party
  8 objects to this request to the extent that it is unreasonably cumulative or duplicative
  9 of other requests for production. Responding Party objects to the request to the
 10 extent that it purports to require Responding Party to produce documents that
 11 contain trade secrets of Responding Party, or other confidential business, financial,
 12 proprietary, or sensitive information of Responding Party or third parties without
 13 entry of a satisfactory confidentiality order. Responding Party also objects to this
 14 request for “All Documents and Communications” on the grounds that it is
 15 overbroad and subjects Responding Party to unreasonable and undue annoyance,
 16 oppression, burden, and expense. Responding Party objects that this request is
 17 vague and ambiguous, including in its use of the phrases “Bitcoin mined by mining
 18 pools Proton is a member of” and corporate ownership of each Person”.
 19 Responding Party further objects to this Request on the grounds that Propounding
 20 Party has failed to comply with Cal. Civ. Proc. Code § 2019.210, which requires
 21 Propounding Party to identify with reasonable particularly the trade secrets it alleges
 22 that any defendant misappropriated before commencing discovery, as required by
 23 Section H of the Court’s Scheduling Order (Dkt. 95).
 24 REQUEST FOR PRODUCTION NO. 21:
 25         All Documents and Communications reflecting any correspondence between
 26 You and any current or former Swan employee or consultant discussing the topic of
 27 employment or potential employment at Proton or Elektron (or joining a company
 28 that was later formed as Proton or Elektron), as well as all of Your internal
                                             22
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 25 of 65 Page
                                    ID #:8494



  1 Documents and Communications regarding the employment or potential
  2 employment of any current or former Swan employee or consultant.
  3 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 21:
  4         Responding Party incorporates by references the General Objections and
  5 Objections to Definitions above as if fully set forth herein. Responding Party objects
  6 to this request to the extent that it seeks information that is protected from disclosure
  7 by the attorney-client privilege, work product doctrine, or any other applicable
  8 privilege or protection. Responding Party also objects to this request’s demand as
  9 being compound, overbroad, overly burdensome, and harassing, and as seeking
 10 documents that are not relevant to the claims or defenses in this action. Responding
 11 Party objects to the term “Elektron” and “You” as overly broad, unduly
 12 burdensome, vague, ambiguous and unintelligible. Responding Party will interpret
 13 “You” to mean Proton Management Ltd., and “Elektron” to mean Elektron
 14 Management LLC or Elektron Enterprises LLC. Responding Party objects to the
 15 request to the extent that it purports to require Responding Party to produce
 16 documents that contain trade secrets of Responding Party, or other confidential
 17 business, financial, proprietary, or sensitive information of Responding Party or
 18 third parties without entry of a satisfactory confidentiality order. Responding Party
 19 also objects to this request for “All Documents and Communications” on the
 20 grounds that it is overbroad and subjects Responding Party to unreasonable and
 21 undue annoyance, oppression, burden, and expense.
 22         Subject to and without waiving the foregoing objections, Responding Party
 23 will produce non-privileged documents responsive to this request located after a
 24 reasonable search, after the entry of a protective order.
 25 REQUEST FOR PRODUCTION NO. 22:
 26         All Documents and Communications concerning Your actual, planned, or
 27 attempted recruitment of any persons who provided or currently provide services to
 28 Swan.
                                               23
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 26 of 65 Page
                                    ID #:8495



  1 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 22:
  2         Responding Party incorporates by references the General Objections and
  3 Objections to Definitions above as if fully set forth herein. Responding Party objects
  4 to this request to the extent that it seeks information that is protected from disclosure
  5 by the attorney-client privilege, work product doctrine, or any other applicable
  6 privilege or protection. Responding Party also objects to this request’s demand as
  7 being compound, overbroad, overly burdensome, and harassing, and as seeking
  8 documents that are not relevant to the claims or defenses in this action. Responding
  9 Party objects to the term “Your” as overly broad, unduly burdensome, vague,
 10 ambiguous and unintelligible. Responding Party will interpret “Your” to mean
 11 Proton Management Ltd. Responding Party objects to the request to the extent that it
 12 purports to require Responding Party to produce documents that contain confidential
 13 business, financial, proprietary, or sensitive information of Responding Party or
 14 third parties without entry of a satisfactory confidentiality order. Responding Party
 15 also objects to this request for “All Documents and Communications” on the
 16 grounds that it is overbroad and subjects Responding Party to unreasonable and
 17 undue annoyance, oppression, burden, and expense.
 18         Subject to and without waiving the foregoing objections, Responding Party
 19 will produce non-privileged documents responsive to this request located after a
 20 reasonable search, after the entry of a protective order.
 21 REQUEST FOR PRODUCTION NO. 23:
 22         All Documents or Communications concerning or referencing Swan’s Trade
 23 Secrets, including Documents and Communications concerning Your actual,
 24 considered, or planned use of Swan’s Trade Secrets.
 25 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 23:
 26         Responding Party incorporates by references the General Objections and
 27 Objections to Definitions above as if fully set forth herein. Responding Party objects
 28 to this request to the extent that it seeks information that is protected from disclosure
                                                 24
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E     Document 195-3 Filed 05/02/25       Page 27 of 65 Page
                                   ID #:8496



  1 by the attorney-client privilege, work product doctrine, or any other applicable
  2 privilege or protection. Responding Party also objects to this request’s demand as
  3 being compound, overbroad, overly burdensome, and harassing, and as seeking
  4 documents that are not relevant to the claims or defenses in this action. Responding
  5 Party further objects to this request on the grounds that it is vague, overbroad and
  6 subjects Responding Party to unreasonable and undue burden and expense.
  7 Responding Party also objects to this request on the grounds and to the extent that it
  8 seeks information that is not in the possession, custody or control of Responding
  9 Party and/or is equally or more readily available from another source which is more
 10 convenient, less burdensome, or less expensive. Responding Party objects to this
 11 request to the extent that it is unreasonably cumulative or duplicative of other
 12 requests for production. Responding Party objects to the request to the extent that it
 13 purports to require Responding Party to produce documents that contain trade
 14 secrets of Responding Party, or other confidential business, financial, proprietary, or
 15 sensitive information of Responding Party or third parties without entry of a
 16 satisfactory confidentiality order. Responding Party also objects to this request for
 17 “All Documents and Communications” on the grounds that it is overbroad and
 18 subjects Responding Party to unreasonable and undue annoyance, oppression,
 19 burden, and expense. Responding Party further objects to this Request on the
 20 grounds that Propounding Party has failed to comply with Cal. Civ. Proc. Code §
 21 2019.210, which requires Propounding Party to identify with reasonable particularly
 22 the trade secrets it alleges that any defendant misappropriated before commencing
 23 discovery, as required by Section H of the Court’s Scheduling Order (Dkt. 95).
 24 REQUEST FOR PRODUCTION NO. 24:
 25         Documents that Your employees, consultants, and other agents downloaded,
 26 accessed, copied, were sent, or otherwise retained that relate to any of those persons’
 27 engagements with Swan, including but not limited to the files identified in Exhibit G
 28 to the Complaint.
                                               25
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25        Page 28 of 65 Page
                                    ID #:8497



  1 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 24:
  2         Responding Party incorporates by references the General Objections and
  3 Objections to Definitions above as if fully set forth herein. Responding Party
  4 objects to this request to the extent that it seeks information that is protected from
  5 disclosure by the attorney-client privilege, work product doctrine, or any other
  6 applicable privilege or protection. Responding Party objects to this request to the
  7 extent that it is unreasonably cumulative or duplicative of other requests for
  8 production. Responding Party objects to the request to the extent that it purports to
  9 require Responding Party to produce documents that contain trade secrets of
 10 Responding Party, or other confidential business, financial, proprietary, or sensitive
 11 information of Responding Party or third parties without entry of a satisfactory
 12 confidentiality order. Responding Party further objects to this Request on the
 13 grounds that Propounding Party has failed to comply with Cal. Civ. Proc. Code §
 14 2019.210, which requires Propounding Party to identify with reasonable particularly
 15 the trade secrets it alleges that any defendant misappropriated before commencing
 16 discovery, as required by Section H of the Court’s Scheduling Order (Dkt. 95).
 17 REQUEST FOR PRODUCTION NO. 25:
 18         Communications concerning Your employees, consultants, and other agents’
 19 downloading, accessing, copying, or otherwise retaining Documents that they had
 20 access to as a result of any of those persons’ engagements with Swan, including but
 21 not limited to the files identified in Exhibit G to the Complaint.
 22 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 25:
 23         Responding Party incorporates by references the General Objections and
 24 Objections to Definitions above as if fully set forth herein. Responding Party
 25 objects to this request to the extent that it seeks information that is protected from
 26 disclosure by the attorney-client privilege, work product doctrine, or any other
 27 applicable privilege or protection. Responding Party also objects to this request’s
 28 demand as being compound, overbroad, overly burdensome, and harassing, and as
                                         26
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25        Page 29 of 65 Page
                                    ID #:8498



  1 seeking documents that are not relevant to the claims or defenses in this action.
  2 Responding Party further objects to this request on the grounds that it is vague,
  3 overbroad and subjects Responding Party to unreasonable and undue burden and
  4 expense. Responding Party also objects to this request on the grounds and to the
  5 extent that it seeks information that is not in the possession, custody or control of
  6 Responding Party and/or is equally or more readily available from another source
  7 which is more convenient, less burdensome, or less expensive. Responding Party
  8 objects to this request to the extent that it is unreasonably cumulative or duplicative
  9 of other requests for production. Responding Party objects to the request to the
 10 extent that it purports to require Responding Party to produce documents that
 11 contain trade secrets of Responding Party, or other confidential business, financial,
 12 proprietary, or sensitive information of Responding Party or third parties without
 13 entry of a satisfactory confidentiality order. Responding Party further objects to this
 14 Request on the grounds that Propounding Party has failed to comply with Cal. Civ.
 15 Proc. Code § 2019.210, which requires Propounding Party to identify with
 16 reasonable particularly the trade secrets it alleges that any defendant
 17 misappropriated before commencing discovery, as required by Section H of the
 18 Court’s Scheduling Order (Dkt. 95).
 19 REQUEST FOR PRODUCTION NO. 26:
 20         All Documents and Communications concerning any Proton employee,
 21 consultant, or other agent’s obligations or potential obligations to Swan, including
 22 but not limited to those arising from such persons’ employment or consulting
 23 agreements with Swan.
 24 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 26:
 25         Responding Party incorporates by references the General Objections and
 26 Objections to Definitions above as if fully set forth herein. Responding Party
 27 objects to this request to the extent that it seeks information that is protected from
 28 disclosure by the attorney-client privilege, work product doctrine, or any other
                                               27
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 30 of 65 Page
                                    ID #:8499



  1 applicable privilege or protection. Responding Party also objects to this request’s
  2 demand as being compound, overbroad, overly burdensome, and harassing, and as
  3 seeking documents that are not relevant to the claims or defenses in this action.
  4 Responding Party further objects to this request on the grounds that it is vague,
  5 overbroad and subjects Responding Party to unreasonable and undue burden and
  6 expense. Responding Party also objects to this request on the grounds and to the
  7 extent that it seeks information that is not in the possession, custody or control of
  8 Responding Party and/or is equally or more readily available from another source
  9 which is more convenient, less burdensome, or less expensive. Responding Party
 10 objects to this request to the extent that it is unreasonably cumulative or duplicative
 11 of other requests for production. Responding Party objects to the request to the
 12 extent that it purports to require Responding Party to produce documents that
 13 contain trade secrets of Responding Party, or other confidential business, financial,
 14 proprietary, or sensitive information of Responding Party or third parties without
 15 entry of a satisfactory confidentiality order. Responding Party further objects to this
 16 Request on the grounds that Propounding Party has failed to comply with Cal. Civ.
 17 Proc. Code § 2019.210, which requires Propounding Party to identify with
 18 reasonable particularly the trade secrets it alleges that any defendant
 19 misappropriated before commencing discovery, as required by Section H of the
 20 Court’s Scheduling Order (Dkt. 95).
 21 REQUEST FOR PRODUCTION NO. 27:
 22         Documents and Communications sufficient to show any former or current
 23 Swan employee or consultant’s job offer from Proton or Elektron (or an offer from a
 24 company that became Proton or Elektron), including all forms of compensation and
 25 benefits or promises thereof.
 26 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 27:
 27         Responding Party incorporates by references the General Objections and
 28 Objections to Definitions above as if fully set forth herein. Responding Party objects
                                              28
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25        Page 31 of 65 Page
                                    ID #:8500



  1 to this request to the extent that it seeks information that is protected from disclosure
  2 by the attorney-client privilege, work product doctrine, or any other applicable
  3 privilege or protection. Responding Party also objects to this request’s demand as
  4 being compound, overbroad, overly burdensome, and harassing, and as seeking
  5 documents that are not relevant to the claims or defenses in this action. Responding
  6 Party objects to the term “Elektron” and “Proton” as overly broad, unduly
  7 burdensome, vague, ambiguous and unintelligible. Responding Party will interpret
  8 “Proton” to mean Proton Management Ltd., and “Elektron” to mean Elektron
  9 Management LLC or Elektron Enterprises LLC. Responding Party also objects to
 10 this request for “All Documents and Communications” on the grounds that it is
 11 overbroad and subjects Responding Party to unreasonable and undue annoyance,
 12 oppression, burden, and expense.
 13         Subject to and without waiving the foregoing objections, Responding Party
 14 will produce non-privileged documents responsive to this request located after a
 15 reasonable search, after the entry of a protective order.
 16 REQUEST FOR PRODUCTION NO. 28:
 17         All Documents and Communications concerning any former or current Swan
 18 employee, consultant, or agent’s development of Swan’s Trade Secrets.
 19 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 28:
 20         Responding Party incorporates by references the General Objections and
 21 Objections to Definitions above as if fully set forth herein. Responding Party
 22 objects to this request to the extent that it seeks information that is protected from
 23 disclosure by the attorney-client privilege, work product doctrine, or any other
 24 applicable privilege or protection. Responding Party also objects to this request’s
 25 demand as being compound, overbroad, overly burdensome, and harassing, and as
 26 seeking documents that are not relevant to the claims or defenses in this action.
 27 Responding Party further objects to this request on the grounds that it is vague,
 28 overbroad and subjects Responding Party to unreasonable and undue burden and
                                           29
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25        Page 32 of 65 Page
                                    ID #:8501



  1 expense. Responding Party also objects to this request on the grounds and to the
  2 extent that it seeks information that is not in the possession, custody or control of
  3 Responding Party and/or is equally or more readily available from another source
  4 which is more convenient, less burdensome, or less expensive. Responding Party
  5 objects to this request to the extent that it is unreasonably cumulative or duplicative
  6 of other requests for production. Responding Party objects to the request to the
  7 extent that it purports to require Responding Party to produce documents that
  8 contain trade secrets of Responding Party, or other confidential business, financial,
  9 proprietary, or sensitive information of Responding Party or third parties without
 10 entry of a satisfactory confidentiality order. Responding Party also objects to this
 11 request for “All Documents and Communications” on the grounds that it is
 12 overbroad and subjects Responding Party to unreasonable and undue annoyance,
 13 oppression, burden, and expense. Responding Party further objects to this Request
 14 on the grounds that Propounding Party has failed to comply with Cal. Civ. Proc.
 15 Code § 2019.210, which requires Propounding Party to identify with reasonable
 16 particularly the trade secrets it alleges that any defendant misappropriated before
 17 commencing discovery, as required by Section H of the Court’s Scheduling Order
 18 (Dkt. 95).
 19 REQUEST FOR PRODUCTION NO. 29:
 20         All Documents and Communications concerning Your business plans,
 21 strategic plans, operating plans, marketing plans, financial plans, sales plans,
 22 investment plans, market studies, and target market, including projections for
 23 revenue generation and profitability, related to Bitcoin mining management and
 24 operation.
 25 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 29:
 26         Responding Party incorporates by references the General Objections and
 27 Objections to Definitions above as if fully set forth herein. Responding Party
 28 objects to this request to the extent that it seeks information that is protected from
                                                 30
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 33 of 65 Page
                                    ID #:8502



  1 disclosure by the attorney-client privilege, work product doctrine, or any other
  2 applicable privilege or protection. Responding Party also objects to this request’s
  3 demand as being compound, overbroad, overly burdensome, and harassing, and as
  4 seeking documents that are not relevant to the claims or defenses in this action.
  5 Responding Party further objects to this request on the grounds that it is vague,
  6 overbroad and subjects Responding Party to unreasonable and undue burden and
  7 expense. Responding Party also objects to this request on the grounds and to the
  8 extent that it seeks information that is not in the possession, custody or control of
  9 Responding Party and/or is equally or more readily available from another source
 10 which is more convenient, less burdensome, or less expensive. Responding Party
 11 objects to this request to the extent that it is unreasonably cumulative or duplicative
 12 of other requests for production. Responding Party objects to the request to the
 13 extent that it purports to require Responding Party to produce documents that
 14 contain trade secrets of Responding Party, or other confidential business, financial,
 15 proprietary, or sensitive information of Responding Party or third parties without
 16 entry of a satisfactory confidentiality order. Responding Party also objects to this
 17 request for “All Documents and Communications” on the grounds that it is
 18 overbroad and subjects Responding Party to unreasonable and undue annoyance,
 19 oppression, burden, and expense. Responding Party further objects to this Request
 20 on the grounds that Propounding Party has failed to comply with Cal. Civ. Proc.
 21 Code § 2019.210, which requires Propounding Party to identify with reasonable
 22 particularly the trade secrets it alleges that any defendant misappropriated before
 23 commencing discovery, as required by Section H of the Court’s Scheduling Order
 24 (Dkt. 95).
 25 REQUEST FOR PRODUCTION NO. 30:
 26         Documents and Communications sufficient to show Your total financial
 27 investment, including but not limited to employee time, purchase of capital
 28 equipment, and outside consultants, by quarter, into Your efforts to develop
                                            31
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 34 of 65 Page
                                    ID #:8503



  1 proprietary methodologies for Bitcoin mining operations including, but not limited
  2 to, the development of any dashboard or monitoring system related to Bitcoin
  3 mining operations.
  4 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 30:
  5         Responding Party incorporates by references the General Objections and
  6 Objections to Definitions above as if fully set forth herein. Responding Party objects
  7 to this request to the extent that it seeks information that is protected from disclosure
  8 by the attorney-client privilege, work product doctrine, or any other applicable
  9 privilege or protection. Responding Party objects to this request to the extent that it
 10 is unreasonably cumulative or duplicative of other requests for production.
 11 Responding Party objects to the request to the extent that it purports to require
 12 Responding Party to produce documents that contain trade secrets of Responding
 13 Party, or other confidential business, financial, proprietary, or sensitive information
 14 of Responding Party or third parties without entry of a satisfactory confidentiality
 15 order. Responding Party further objects to this Request on the grounds that
 16 Propounding Party has failed to comply with Cal. Civ. Proc. Code § 2019.210,
 17 which requires Propounding Party to identify with reasonable particularly the trade
 18 secrets it alleges that any defendant misappropriated before commencing discovery,
 19 as required by Section H of the Court’s Scheduling Order (Dkt. 95).
 20 REQUEST FOR PRODUCTION NO. 31:
 21         All Documents and Communications concerning Your actual, planned, or
 22 attempted development or use of any dashboard or monitoring system related to
 23 Bitcoin mining operations, including but not limited to any dashboard or monitoring
 24 system similar to Swan’s BNOC or intended to serve as a replacement to Swan’s
 25 BNOC.
 26 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 31:
 27         Responding Party incorporates by references the General Objections and
 28 Objections to Definitions above as if fully set forth herein. Responding Party
                                              32
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 35 of 65 Page
                                    ID #:8504



  1 objects to this request to the extent that it seeks information that is protected from
  2 disclosure by the attorney-client privilege, work product doctrine, or any other
  3 applicable privilege or protection. Responding Party also objects to this request’s
  4 demand as being compound, overbroad, overly burdensome, and harassing, and as
  5 seeking documents that are not relevant to the claims or defenses in this action.
  6 Responding Party further objects to this request on the grounds that it is vague,
  7 overbroad and subjects Responding Party to unreasonable and undue burden and
  8 expense. Responding Party also objects to this request on the grounds and to the
  9 extent that it seeks information that is not in the possession, custody or control of
 10 Responding Party and/or is equally or more readily available from another source
 11 which is more convenient, less burdensome, or less expensive. Responding Party
 12 objects to this request to the extent that it is unreasonably cumulative or duplicative
 13 of other requests for production. Responding Party objects to the request to the
 14 extent that it purports to require Responding Party to produce documents that
 15 contain trade secrets of Responding Party, or other confidential business, financial,
 16 proprietary, or sensitive information of Responding Party or third parties without
 17 entry of a satisfactory confidentiality order. Responding Party also objects to this
 18 request for “All Documents and Communications” on the grounds that it is
 19 overbroad and subjects Responding Party to unreasonable and undue annoyance,
 20 oppression, burden, and expense Responding Party objects that this request is vague
 21 and ambiguous, including in its use of the phrase “any dashboard or monitoring
 22 system similar to Swan’s BNOC or intended to serve as a replacement to Swan’s
 23 BNOC”. Responding Party further objects to this Request on the grounds that
 24 Propounding Party has failed to comply with Cal. Civ. Proc. Code § 2019.210,
 25 which requires Propounding Party to identify with reasonable particularly the trade
 26 secrets it alleges that any defendant misappropriated before commencing discovery,
 27 as required by Section H of the Court’s Scheduling Order (Dkt. 95).
 28
                                               33
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 36 of 65 Page
                                    ID #:8505



  1 REQUEST FOR PRODUCTION NO. 32:
  2         All Documents and Communications concerning any comparison between
  3 any dashboard or monitoring system related to Bitcoin mining operations that You
  4 use to Swan’s BNOC.
  5 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 32:
  6         Responding Party incorporates by references the General Objections and
  7 Objections to Definitions above as if fully set forth herein. Responding Party
  8 objects to this request to the extent that it seeks information that is protected from
  9 disclosure by the attorney-client privilege, work product doctrine, or any other
 10 applicable privilege or protection. Responding Party also objects to this request’s
 11 demand as being compound, overbroad, overly burdensome, and harassing, and as
 12 seeking documents that are not relevant to the claims or defenses in this action.
 13 Responding Party further objects to this request on the grounds that it is vague,
 14 overbroad and subjects Responding Party to unreasonable and undue burden and
 15 expense. Responding Party also objects to this request on the grounds and to the
 16 extent that it seeks information that is not in the possession, custody or control of
 17 Responding Party and/or is equally or more readily available from another source
 18 which is more convenient, less burdensome, or less expensive. Responding Party
 19 objects to this request to the extent that it is unreasonably cumulative or duplicative
 20 of other requests for production. Responding Party objects to the request to the
 21 extent that it purports to require Responding Party to produce documents that
 22 contain trade secrets of Responding Party, or other confidential business, financial,
 23 proprietary, or sensitive information of Responding Party or third parties without
 24 entry of a satisfactory confidentiality order. Responding Party also objects to this
 25 request for “All Documents and Communications” on the grounds that it is
 26 overbroad and subjects Responding Party to unreasonable and undue annoyance,
 27 oppression, burden, and expense. Responding Party further objects to this Request
 28 on the grounds that Propounding Party has failed to comply with Cal. Civ. Proc.
                                            34
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25        Page 37 of 65 Page
                                    ID #:8506



  1 Code § 2019.210, which requires Propounding Party to identify with reasonable
  2 particularly the trade secrets it alleges that any defendant misappropriated before
  3 commencing discovery, as required by Section H of the Court’s Scheduling Order
  4 (Dkt. 95).
  5 REQUEST FOR PRODUCTION NO. 33:
  6         All Documents and Communications concerning any comparison between
  7 Swan’s Trade Secrets and any techniques, methods, or tools You use to manage,
  8 operate, or otherwise engage in Bitcoin mining activities.
  9 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 33:
 10         Responding Party incorporates by references the General Objections and
 11 Objections to Definitions above as if fully set forth herein. Responding Party
 12 objects to this request to the extent that it seeks information that is protected from
 13 disclosure by the attorney-client privilege, work product doctrine, or any other
 14 applicable privilege or protection. Responding Party also objects to this request’s
 15 demand as being compound, overbroad, overly burdensome, and harassing, and as
 16 seeking documents that are not relevant to the claims or defenses in this action.
 17 Responding Party further objects to this request on the grounds that it is vague,
 18 overbroad and subjects Responding Party to unreasonable and undue burden and
 19 expense. Responding Party also objects to this request on the grounds and to the
 20 extent that it seeks information that is not in the possession, custody or control of
 21 Responding Party and/or is equally or more readily available from another source
 22 which is more convenient, less burdensome, or less expensive. Responding Party
 23 objects to this request to the extent that it is unreasonably cumulative or duplicative
 24 of other requests for production. Responding Party objects to the request to the
 25 extent that it purports to require Responding Party to produce documents that
 26 contain trade secrets of Responding Party, or other confidential business, financial,
 27 proprietary, or sensitive information of Responding Party or third parties without
 28 entry of a satisfactory confidentiality order. Responding Party also objects to this
                                               35
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25        Page 38 of 65 Page
                                    ID #:8507



  1 request for “All Documents and Communications” on the grounds that it is
  2 overbroad and subjects Responding Party to unreasonable and undue annoyance,
  3 oppression, burden, and expense. Responding Party objects that this request is
  4 vague and ambiguous, including in its use of the phrases “any techniques, methods,
  5 or tools You use to manage, operate, or otherwise engage in Bitcoin mining
  6 activities”. Responding Party further objects to this Request on the grounds that
  7 Propounding Party has failed to comply with Cal. Civ. Proc. Code § 2019.210,
  8 which requires Propounding Party to identify with reasonable particularly the trade
  9 secrets it alleges that any defendant misappropriated before commencing discovery,
 10 as required by Section H of the Court’s Scheduling Order (Dkt. 95).
 11 REQUEST FOR PRODUCTION NO. 34:
 12         Documents and Communications concerning Your efforts to keep the
 13 techniques, methods, or tools You use to manage, operate, or otherwise engage in
 14 Bitcoin mining activities secret or confidential.
 15 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 34:
 16         Responding Party incorporates by references the General Objections and
 17 Objections to Definitions above as if fully set forth herein. Responding Party
 18 objects to this request to the extent that it seeks information that is protected from
 19 disclosure by the attorney-client privilege, work product doctrine, or any other
 20 applicable privilege or protection. Responding Party also objects to this request’s
 21 demand as being compound, overbroad, overly burdensome, and harassing, and as
 22 seeking documents that are not relevant to the claims or defenses in this action.
 23 Responding Party further objects to this request on the grounds that it is vague,
 24 overbroad and subjects Responding Party to unreasonable and undue burden and
 25 expense. Responding Party also objects to this request on the grounds and to the
 26 extent that it seeks information that is not in the possession, custody or control of
 27 Responding Party and/or is equally or more readily available from another source
 28 which is more convenient, less burdensome, or less expensive. Responding Party
                                           36
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 39 of 65 Page
                                    ID #:8508



  1 objects to this request to the extent that it is unreasonably cumulative or duplicative
  2 of other requests for production. Responding Party objects to the request to the
  3 extent that it purports to require Responding Party to produce documents that
  4 contain trade secrets of Responding Party, or other confidential business, financial,
  5 proprietary, or sensitive information of Responding Party or third parties without
  6 entry of a satisfactory confidentiality order. Responding Party objects that this
  7 request is vague and ambiguous, including in its use of the phrases “techniques,
  8 methods, or tools You use to manage, operate, or otherwise engage in Bitcoin
  9 mining activities”. Responding Party further objects to this Request on the grounds
 10 that Propounding Party has failed to comply with Cal. Civ. Proc. Code § 2019.210,
 11 which requires Propounding Party to identify with reasonable particularly the trade
 12 secrets it alleges that any defendant misappropriated before commencing discovery,
 13 as required by Section H of the Court’s Scheduling Order (Dkt. 95).
 14 REQUEST FOR PRODUCTION NO. 35:
 15         Documents and Communications concerning any actual or considered
 16 indemnification of You and/or Your employees, consultants, or other agents
 17 concerning activities related to Bitcoin mining, including but not limited to (i) any
 18 agreements under which any third party has agreed to indemnify You and/or Your
 19 employees, consultants, and other agents; and (ii) any agreements under which You
 20 have agreed to indemnify Your employees, consultants, and other agents.
 21 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 35:
 22         Responding Party incorporates by references the General Objections and
 23 Objections to Definitions above as if fully set forth herein. Responding Party objects
 24 to this request to the extent that it seeks information that is protected from disclosure
 25 by the attorney-client privilege, work product doctrine, or any other applicable
 26 privilege or protection. Responding Party also objects to this request’s demand as
 27 being compound, overbroad, overly burdensome, and harassing, and as seeking
 28 documents that are not relevant to the claims or defenses in this action. Responding
                                              37
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 40 of 65 Page
                                    ID #:8509



  1 Party also objects to this request on the grounds and to the extent that it seeks
  2 information that is not in the possession, custody or control of Responding Party
  3 and/or is equally or more readily available from another source which is more
  4 convenient, less burdensome, or less expensive. Responding Party objects to this
  5 request to the extent that it is unreasonably cumulative or duplicative of other
  6 requests for production. Responding Party objects to the request to the extent that it
  7 purports to require Responding Party to produce documents that contain trade
  8 secrets of Responding Party, or other confidential business, financial, proprietary, or
  9 sensitive information of Responding Party or third parties without entry of a
 10 satisfactory confidentiality order. Responding Party further objects to this request
 11 on the grounds that it is vague, overbroad and subjects Responding Party to
 12 unreasonable and undue burden and expense.
 13         Subject to and without waiving the foregoing objections, Responding Party
 14 will produce non-privileged documents responsive to this request concerning
 15 indemnification of Proton Management Ltd. or its employees and consultants
 16 concerning the allegations in the Amended Complaint located after a reasonable
 17 search, after the entry of a protective order.
 18 REQUEST FOR PRODUCTION NO. 36:
 19         Documents sufficient to identify all persons who own any interest in You,
 20 including Documents sufficient to identify when those persons acquired that interest
 21 and the size and nature of that interest.
 22 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 36:
 23         Responding Party incorporates by references the General Objections and
 24 Objections to Definitions above as if fully set forth herein. Responding Party objects
 25 to this request to the extent that it seeks information that is protected from disclosure
 26 by the attorney-client privilege, work product doctrine, or any other applicable
 27 privilege or protection. Responding Party objects to this request to the extent that it
 28 is unreasonably cumulative or duplicative of other requests for production.
                                            38
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 41 of 65 Page
                                    ID #:8510



  1 Responding Party objects to the request to the extent that it purports to require
  2 Responding Party to produce documents that contain trade secrets of Responding
  3 Party, or other confidential business, financial, proprietary, or sensitive information
  4 of Responding Party or third parties without entry of a satisfactory confidentiality
  5 order. Responding Party objects that this request is vague and ambiguous and
  6 overbroad, including in its use of the phrase “You.” Responding Party will interpret
  7 “You” to mean Proton Management Ltd.
  8         Subject to and without waiving the foregoing objections, Responding Party
  9 will produce non-privileged documents responsive to this request after the entry of a
 10 protective order.
 11 REQUEST FOR PRODUCTION NO. 37:
 12         Documents sufficient to identify all persons in whom you own any interest,
 13 including Documents sufficient to identify when You acquired that interest and the
 14 size and nature of that interest.
 15 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 37:
 16         Responding Party incorporates by references the General Objections and
 17 Objections to Definitions above as if fully set forth herein. Responding Party objects
 18 to this request to the extent that it seeks information that is protected from disclosure
 19 by the attorney-client privilege, work product doctrine, or any other applicable
 20 privilege or protection. Responding Party objects to this request to the extent that it
 21 is unreasonably cumulative or duplicative of other requests for production.
 22 Responding Party objects to the request to the extent that it purports to require
 23 Responding Party to produce documents that contain trade secrets of Responding
 24 Party, or other confidential business, financial, proprietary, or sensitive information
 25 of Responding Party or third parties without entry of a satisfactory confidentiality
 26 order. Responding Party objects that this request is vague and ambiguous and
 27 overbroad, including in its use of the phrase “You.” Responding Party will interpret
 28 “You” to mean Proton Management Ltd.
                                                39
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 42 of 65 Page
                                    ID #:8511



  1         Subject to and without waiving the foregoing objections, Responding Party
  2 will produce non-privileged documents responsive to this request after the entry of a
  3 protective order.
  4 REQUEST FOR PRODUCTION NO. 38:
  5         Documents and Communications concerning any actual, planned, or
  6 attempted investment in You by any person, including but not limited to
  7 Communications You sent to any actual or potential investors.
  8 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 38:
  9         Responding Party incorporates by references the General Objections and
 10 Objections to Definitions above as if fully set forth herein. Responding Party objects
 11 to this request to the extent that it seeks information that is protected from disclosure
 12 by the attorney-client privilege, work product doctrine, or any other applicable
 13 privilege or protection. Responding Party objects to this request to the extent that it
 14 is unreasonably cumulative or duplicative of other requests for production.
 15 Responding Party objects to the request to the extent that it purports to require
 16 Responding Party to produce documents that contain trade secrets of Responding
 17 Party, or other confidential business, financial, proprietary, or sensitive information
 18 of Responding Party or third parties without entry of a satisfactory confidentiality
 19 order. Responding Party also objects to this request for “Documents and
 20 Communications” without limitation on the grounds that it is overbroad and subjects
 21 Responding Party to unreasonable and undue annoyance, oppression, burden, and
 22 expense. Responding Party objects that this request is vague and ambiguous and
 23 overbroad, including in its use of the phrase “You.” Responding Party will interpret
 24 “You” to mean Proton Management Ltd.
 25         Subject to and without waiving the foregoing objections, Responding Party
 26 will produce non-privileged documents responsive to this request located after a
 27 reasonable search, if any, after the entry of a protective order.
 28
                                                40
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 43 of 65 Page
                                    ID #:8512



  1 REQUEST FOR PRODUCTION NO. 39:
  2         Documents and Communications concerning any valuation of Your business,
  3 including but not limited to any valuations of any subparts of that business, such as
  4 services You provide related to Bitcoin mining.
  5 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 39:
  6         Responding Party incorporates by references the General Objections and
  7 Objections to Definitions above as if fully set forth herein. Responding Party objects
  8 to this request to the extent that it seeks information that is protected from disclosure
  9 by the attorney-client privilege, work product doctrine, or any other applicable
 10 privilege or protection. Responding Party also objects to this request’s demand as
 11 being compound, overbroad, overly burdensome, and harassing, and as seeking
 12 documents that are not relevant to the claims or defenses in this action. Responding
 13 Party further objects to this request on the grounds that it is vague, overbroad and
 14 subjects Responding Party to unreasonable and undue burden and expense.
 15 Responding Party also objects to this request on the grounds and to the extent that it
 16 seeks information that is not in the possession, custody or control of Responding
 17 Party and/or is equally or more readily available from another source which is more
 18 convenient, less burdensome, or less expensive. Responding Party objects to this
 19 request to the extent that it is unreasonably cumulative or duplicative of other
 20 requests for production. Responding Party objects to the request to the extent that it
 21 purports to require Responding Party to produce documents that contain trade
 22 secrets of Responding Party, or other confidential business, financial, proprietary, or
 23 sensitive information of Responding Party or third parties without entry of a
 24 satisfactory confidentiality order. Responding Party objects that this request is
 25 vague and ambiguous and overbroad, including in its use of the phrase “You.”
 26 Responding Party will interpret “You” to mean Proton Management Ltd.
 27 Responding Party further objects to this Request on the grounds that Propounding
 28 Party has failed to comply with Cal. Civ. Proc. Code § 2019.210, which requires
                                             41
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 44 of 65 Page
                                    ID #:8513



  1 Propounding Party to identify with reasonable particularly the trade secrets it alleges
  2 that any defendant misappropriated before commencing discovery, as required by
  3 Section H of the Court’s Scheduling Order (Dkt. 95).
  4 REQUEST FOR PRODUCTION NO. 40:
  5         Financial statements, including but not limited to income statements, balance
  6 sheets, cash flow statements, statement of shareholders’ equity, and other financial
  7 and/or accounting statements showing income and/or expenses, assets and liabilities,
  8 equity, cash flows, and capital accounts of any type related to services you provide
  9 related to Bitcoin mining.
 10 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 40:
 11         Responding Party incorporates by references the General Objections and
 12 Objections to Definitions above as if fully set forth herein. Responding Party objects
 13 to this request to the extent that it seeks information that is protected from disclosure
 14 by the attorney-client privilege, work product doctrine, or any other applicable
 15 privilege or protection. Responding Party objects to this request to the extent that it
 16 is unreasonably cumulative or duplicative of other requests for production.
 17 Responding Party objects to the request to the extent that it purports to require
 18 Responding Party to produce documents that contain trade secrets of Responding
 19 Party, or other confidential business, financial, proprietary, or sensitive information
 20 of Responding Party or third parties without entry of a satisfactory confidentiality
 21 order. Responding Party objects that this request is vague and ambiguous and
 22 overbroad, including in its use of the phrase “You.” Responding Party will interpret
 23 “You” to mean Proton Management Ltd. Responding Party further objects to this
 24 Request on the grounds that Propounding Party has failed to comply with Cal. Civ.
 25 Proc. Code § 2019.210, which requires Propounding Party to identify with
 26 reasonable particularly the trade secrets it alleges that any defendant
 27 misappropriated before commencing discovery, as required by Section H of the
 28 Court’s Scheduling Order (Dkt. 95).
                                                42
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 45 of 65 Page
                                    ID #:8514



  1 REQUEST FOR PRODUCTION NO. 41:
  2         All Communications between You and persons associated with the Mining
  3 Sites You manage, operate, or otherwise engage with related to Bitcoin mining
  4 activities, including but not limited to all Communications exchanged via Signal,
  5 Telegram, and WhatsApp.
  6 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 41:
  7         Responding Party incorporates by references the General Objections and
  8 Objections to Definitions above as if fully set forth herein. Responding Party objects
  9 to this request to the extent that it seeks information that is protected from disclosure
 10 by the attorney-client privilege, work product doctrine, or any other applicable
 11 privilege or protection. Responding Party also objects to this request’s demand as
 12 being compound, overbroad, overly burdensome, and harassing, and as seeking
 13 documents that are not relevant to the claims or defenses in this action. Responding
 14 Party further objects to this request on the grounds that it is vague, overbroad and
 15 subjects Responding Party to unreasonable and undue burden and expense.
 16 Responding Party also objects to this request on the grounds and to the extent that it
 17 seeks information that is not in the possession, custody or control of Responding
 18 Party and/or is equally or more readily available from another source which is more
 19 convenient, less burdensome, or less expensive. Responding Party objects to this
 20 request to the extent that it is unreasonably cumulative or duplicative of other
 21 requests for production. Responding Party objects to the request to the extent that it
 22 purports to require Responding Party to produce documents that contain trade
 23 secrets of Responding Party, or other confidential business, financial, proprietary, or
 24 sensitive information of Responding Party or third parties without entry of a
 25 satisfactory confidentiality order. Responding Party also objects to this request for
 26 “All Communications” on the grounds that it is overbroad and subjects Responding
 27 Party to unreasonable and undue annoyance, oppression, burden, and expense.
 28 Responding Party further objects to this Request on the grounds that Propounding
                                             43
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25        Page 46 of 65 Page
                                    ID #:8515



  1 Party has failed to comply with Cal. Civ. Proc. Code § 2019.210, which requires
  2 Propounding Party to identify with reasonable particularly the trade secrets it alleges
  3 that any defendant misappropriated before commencing discovery, as required by
  4 Section H of the Court’s Scheduling Order (Dkt. 95).
  5 REQUEST FOR PRODUCTION NO. 42:
  6         Communications concerning Your actual, planned, inadvertent, or attempted
  7 efforts to delete, conceal, or spoliate evidence related to the subject matter of this
  8 Action
  9 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 42:
 10         Responding Party incorporates by references the General Objections and
 11 Objections to Definitions above as if fully set forth herein. Responding Party objects
 12 to this request to the extent that it seeks information that is protected from disclosure
 13 by the attorney-client privilege, work product doctrine, or any other applicable
 14 privilege or protection. Responding Party also objects to this request’s demand as
 15 being compound, overbroad, overly burdensome, and harassing, and as seeking
 16 documents that are not relevant to the claims or defenses in this action. Responding
 17 Party further objects to this request on the grounds that it is vague, overbroad and
 18 subjects Responding Party to unreasonable and undue burden and expense.
 19 Responding Party also objects to this request on the grounds and to the extent that it
 20 seeks information that is not in the possession, custody or control of Responding
 21 Party and/or is equally or more readily available from another source which is more
 22 convenient, less burdensome, or less expensive. Responding Party objects to this
 23 request to the extent that it is unreasonably cumulative or duplicative of other
 24 requests for production. Responding Party objects to the request to the extent that it
 25 purports to require Responding Party to produce documents that contain trade
 26 secrets of Responding Party, or other confidential business, financial, proprietary, or
 27 sensitive information of Responding Party or third parties without entry of a
 28 satisfactory confidentiality order. Responding Party further objects to this Request
                                              44
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 47 of 65 Page
                                    ID #:8516



  1 on the grounds that Propounding Party has failed to comply with Cal. Civ. Proc.
  2 Code § 2019.210, which requires Propounding Party to identify with reasonable
  3 particularly the trade secrets it alleges that any defendant misappropriated before
  4 commencing discovery, as required by Section H of the Court’s Scheduling Order
  5 (Dkt. 95).
  6 REQUEST FOR PRODUCTION NO. 43:
  7         Communications concerning the use of ephemeral messaging applications
  8 (such as Signal, Telegram, or WhatsApp) for You and/or Your employees,
  9 consultants, and other agents’ communications, including but not limited to
 10 Communications concerning switching from non-ephemeral messaging applications
 11 to ephemeral ones.
 12 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 43:
 13         Responding Party incorporates by references the General Objections and
 14 Objections to Definitions above as if fully set forth herein. Responding Party objects
 15 to this request to the extent that it seeks information that is protected from disclosure
 16 by the attorney-client privilege, work product doctrine, or any other applicable
 17 privilege or protection. Responding Party also objects to this request’s demand as
 18 being compound, overbroad, overly burdensome, and harassing, and as seeking
 19 documents that are not relevant to the claims or defenses in this action. Responding
 20 Party further objects to this request on the grounds that it is vague, overbroad and
 21 subjects Responding Party to unreasonable and undue burden and expense.
 22 Responding Party also objects to this request on the grounds and to the extent that it
 23 seeks information that is not in the possession, custody or control of Responding
 24 Party and/or is equally or more readily available from another source which is more
 25 convenient, less burdensome, or less expensive. Responding Party objects to this
 26 request to the extent that it is unreasonably cumulative or duplicative of other
 27 requests for production. Responding Party objects to the request to the extent that it
 28 purports to require Responding Party to produce documents that contain trade
                                             45
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 48 of 65 Page
                                    ID #:8517



  1 secrets of Responding Party, or other confidential business, financial, proprietary, or
  2 sensitive information of Responding Party or third parties without entry of a
  3 satisfactory confidentiality order. Responding Party objects that this request is vague
  4 and ambiguous, including in its use of the phrase “ephemeral messaging
  5 applications”. Responding Party further objects to this Request on the grounds that
  6 Propounding Party has failed to comply with Cal. Civ. Proc. Code § 2019.210,
  7 which requires Propounding Party to identify with reasonable particularly the trade
  8 secrets it alleges that any defendant misappropriated before commencing discovery,
  9 as required by Section H of the Court’s Scheduling Order (Dkt. 95).
 10 REQUEST FOR PRODUCTION NO. 44:
 11         Documents and Communications concerning Your involvement in the actual,
 12 planned, or attempted sale of ASICs or other hardware or infrastructure related to
 13 Bitcoin mining, including your valuation of any ASICs for the purpose of a sale or
 14 attempted or planned sale.
 15 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 44:
 16         Responding Party incorporates by references the General Objections and
 17 Objections to Definitions above as if fully set forth herein. Responding Party objects
 18 to this request to the extent that it seeks information that is protected from disclosure
 19 by the attorney-client privilege, work product doctrine, or any other applicable
 20 privilege or protection. Responding Party also objects to this request’s demand as
 21 being compound, overbroad, overly burdensome, and harassing, and as seeking
 22 documents that are not relevant to the claims or defenses in this action. Responding
 23 Party further objects to this request on the grounds that it is vague, overbroad and
 24 subjects Responding Party to unreasonable and undue burden and expense.
 25 Responding Party also objects to this request on the grounds and to the extent that it
 26 seeks information that is not in the possession, custody or control of Responding
 27 Party and/or is equally or more readily available from another source which is more
 28 convenient, less burdensome, or less expensive. Responding Party objects to this
                                            46
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 49 of 65 Page
                                    ID #:8518



  1 request to the extent that it is unreasonably cumulative or duplicative of other
  2 requests for production. Responding Party objects to the request to the extent that it
  3 purports to require Responding Party to produce documents that contain trade
  4 secrets of Responding Party, or other confidential business, financial, proprietary, or
  5 sensitive information of Responding Party or third parties without entry of a
  6 satisfactory confidentiality order. Responding Party further objects to this Request
  7 on the grounds that Propounding Party has failed to comply with Cal. Civ. Proc.
  8 Code § 2019.210, which requires Propounding Party to identify with reasonable
  9 particularly the trade secrets it alleges that any defendant misappropriated before
 10 commencing discovery, as required by Section H of the Court’s Scheduling Order
 11 (Dkt. 95).
 12 REQUEST FOR PRODUCTION NO. 45:
 13         Documents and Communications concerning Your or Your employees,
 14 consultants, and other agents’ concealment of assets, transfer of assets to third
 15 parties, or attempts to limit Swan’s ability to recover assets in connection with this
 16 Action.
 17 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 45:
 18         Responding Party incorporates by references the General Objections and
 19 Objections to Definitions above as if fully set forth herein. Responding Party objects
 20 to this request to the extent that it seeks information that is protected from disclosure
 21 by the attorney-client privilege, work product doctrine, or any other applicable
 22 privilege or protection. Responding Party also objects to this request’s demand as
 23 being compound, overbroad, overly burdensome, and harassing, and as seeking
 24 documents that are not relevant to the claims or defenses in this action. Responding
 25 Party further objects to this request on the grounds that it is vague, overbroad and
 26 subjects Responding Party to unreasonable and undue burden and expense.
 27 Responding Party also objects to this request on the grounds and to the extent that it
 28 seeks information that is not in the possession, custody or control of Responding
                                              47
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25        Page 50 of 65 Page
                                    ID #:8519



  1 Party and/or is equally or more readily available from another source which is more
  2 convenient, less burdensome, or less expensive. Responding Party objects to this
  3 request to the extent that it is unreasonably cumulative or duplicative of other
  4 requests for production. Responding Party objects to the request to the extent that it
  5 purports to require Responding Party to produce documents that contain trade
  6 secrets of Responding Party, or other confidential business, financial, proprietary, or
  7 sensitive information of Responding Party or third parties without entry of a
  8 satisfactory confidentiality order. Responding Party further objects to this Request
  9 on the grounds that Propounding Party has failed to comply with Cal. Civ. Proc.
 10 Code § 2019.210, which requires Propounding Party to identify with reasonable
 11 particularly the trade secrets it alleges that any defendant misappropriated before
 12 commencing discovery, as required by Section H of the Court’s Scheduling Order
 13 (Dkt. 95).
 14 REQUEST FOR PRODUCTION NO. 46:
 15         Documents sufficient to identify the amount and location of Your assets,
 16 including but not limited to identifying all Bitcoin owned or controlled by You
 17 and/or Your employees, consultants, and other agents.
 18 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 46:
 19         Responding Party incorporates by references the General Objections and
 20 Objections to Definitions above as if fully set forth herein. Responding Party objects
 21 to this request to the extent that it seeks information that is protected from disclosure
 22 by the attorney-client privilege, work product doctrine, or any other applicable
 23 privilege or protection. Responding Party objects to this request to the extent that it
 24 is unreasonably cumulative or duplicative of other requests for production.
 25 Responding Party objects to the to the extent that it purports to require Responding
 26 Party to produce documents that contain trade secrets of Responding Party, or other
 27 confidential business, financial, proprietary, or sensitive information of Responding
 28 Party or third parties without entry of a satisfactory confidentiality order.
                                               48
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 51 of 65 Page
                                    ID #:8520



  1 Responding Party further objects to this Request on the grounds that Propounding
  2 Party has failed to comply with Cal. Civ. Proc. Code § 2019.210, which requires
  3 Propounding Party to identify with reasonable particularly the trade secrets it alleges
  4 that any defendant misappropriated before commencing discovery, as required by
  5 Section H of the Court’s Scheduling Order (Dkt. 95).
  6 REQUEST FOR PRODUCTION NO. 47:
  7         All Documents and Communications concerning Your holding Yourself or
  8 Your employees, consultants, and other agents out as former Swan employees,
  9 consultants, or agents.
 10 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 47:
 11         Responding Party incorporates by references the General Objections and
 12 Objections to Definitions above as if fully set forth herein. Responding Party objects
 13 to this request to the extent that it seeks information that is protected from disclosure
 14 by the attorney-client privilege, work product doctrine, or any other applicable
 15 privilege or protection. Responding Party also objects to this request’s demand as
 16 being compound, overbroad, overly burdensome, and harassing, and as seeking
 17 documents that are not relevant to the claims or defenses in this action. Responding
 18 Party further objects to this request on the grounds that it is vague, overbroad and
 19 subjects Responding Party to unreasonable and undue burden and expense.
 20 Responding Party also objects to this request on the grounds and to the extent that it
 21 seeks information that is not in the possession, custody or control of Responding
 22 Party and/or is equally or more readily available from another source which is more
 23 convenient, less burdensome, or less expensive. Responding Party objects to this
 24 request to the extent that it is unreasonably cumulative or duplicative of other
 25 requests for production. Responding Party objects to the request to the extent that it
 26 purports to require Responding Party to produce documents that contain trade
 27 secrets of Responding Party, or other confidential business, financial, proprietary, or
 28 sensitive information of Responding Party or third parties without entry of a
                                            49
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 52 of 65 Page
                                    ID #:8521



  1 satisfactory confidentiality order. Responding Party further objects to this Request
  2 on the grounds that Propounding Party has failed to comply with Cal. Civ. Proc.
  3 Code § 2019.210, which requires Propounding Party to identify with reasonable
  4 particularly the trade secrets it alleges that any defendant misappropriated before
  5 commencing discovery, as required by Section H of the Court’s Scheduling Order
  6 (Dkt. 95).
  7 REQUEST FOR PRODUCTION NO. 48:
  8         All Documents and Communications that You sent to actual or prospective
  9 customers, investors, vendors, business partners, funding sources, or other parties
 10 referencing or containing Swan’s name, logo, or the names of Swan personnel.
 11 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 48:
 12         Responding Party incorporates by references the General Objections and
 13 Objections to Definitions above as if fully set forth herein. Responding Party objects
 14 to this request to the extent that it seeks information that is protected from disclosure
 15 by the attorney-client privilege, work product doctrine, or any other applicable
 16 privilege or protection. Responding Party also objects to this request’s demand as
 17 being compound, overbroad, overly burdensome, and harassing, and as seeking
 18 documents that are not relevant to the claims or defenses in this action. Responding
 19 Party further objects to this request on the grounds that it is vague, overbroad and
 20 subjects Responding Party to unreasonable and undue burden and expense.
 21 Responding Party also objects to this request on the grounds and to the extent that it
 22 seeks information that is not in the possession, custody or control of Responding
 23 Party and/or is equally or more readily available from another source which is more
 24 convenient, less burdensome, or less expensive. Responding Party objects to this
 25 request to the extent that it is unreasonably cumulative or duplicative of other
 26 requests for production. Responding Party objects to the request to the extent that it
 27 purports to require Responding Party to produce documents that contain trade
 28 secrets of Responding Party, or other confidential business, financial, proprietary, or
                                             50
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 53 of 65 Page
                                    ID #:8522



  1 sensitive information of Responding Party or third parties without entry of a
  2 satisfactory confidentiality order. Responding Party also objects to this request for
  3 “All Documents and Communications” on the grounds that it is overbroad and
  4 subjects Responding Party to unreasonable and undue annoyance, oppression,
  5 burden, and expense. Responding Party further objects to this Request on the
  6 grounds that Propounding Party has failed to comply with Cal. Civ. Proc. Code §
  7 2019.210, which requires Propounding Party to identify with reasonable particularly
  8 the trade secrets it alleges that any defendant misappropriated before commencing
  9 discovery, as required by Section H of the Court’s Scheduling Order (Dkt. 95).
 10 REQUEST FOR PRODUCTION NO. 49:
 11         All Documents and Communications concerning any statements made by You
 12 and/or Your employees, consultants, independent contractors, and other agents
 13 disparaging or otherwise saying anything negative about Swan.
 14 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 49:
 15         Responding Party incorporates by references the General Objections and
 16 Objections to Definitions above as if fully set forth herein. Responding Party objects
 17 to this request to the extent that it seeks information that is protected from disclosure
 18 by the attorney-client privilege, work product doctrine, or any other applicable
 19 privilege or protection. Responding Party also objects to this request’s demand as
 20 being compound, overbroad, overly burdensome, and harassing, and as seeking
 21 documents that are not relevant to the claims or defenses in this action. Responding
 22 Party also objects to this request on the grounds and to the extent that it seeks
 23 information that is not in the possession, custody or control of Responding Party
 24 and/or is equally or more readily available from another source which is more
 25 convenient, less burdensome, or less expensive. Responding Party objects to this
 26 request to the extent that it is unreasonably cumulative or duplicative of other
 27 requests for production. Responding Party objects to the request to the extent that it
 28 purports to require Responding Party to produce documents that contain trade
                                             51
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 54 of 65 Page
                                    ID #:8523



  1 secrets of Responding Party, or other confidential business, financial, proprietary, or
  2 sensitive information of Responding Party or third parties without entry of a
  3 satisfactory confidentiality order. Responding Party also objects to this request for
  4 “All Documents and Communications” on the grounds that it is overbroad and
  5 subjects Responding Party to unreasonable and undue annoyance, oppression,
  6 burden, and expense. Responding Party objects that this request is vague and
  7 ambiguous and overbroad, including in its use of the phrase “Your.” Responding
  8 Party will interpret “Your” to mean Proton Management Ltd.
  9         Subject to and without waiving the foregoing objections, Responding Party
 10 will produce non-privileged documents responsive to this request located after a
 11 reasonable search, after the entry of a protective order.
 12 REQUEST FOR PRODUCTION NO. 50:
 13         All Documents and Communications concerning any statements made by You
 14 and/or Your employees, consultants, independent contractors, and other agents
 15 praising or otherwise saying anything positive about Swan.
 16 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 50:
 17         Responding Party incorporates by references the General Objections and
 18 Objections to Definitions above as if fully set forth herein. Responding Party objects
 19 to this request to the extent that it seeks information that is protected from disclosure
 20 by the attorney-client privilege, work product doctrine, or any other applicable
 21 privilege or protection. Responding Party also objects to this request’s demand as
 22 being compound, overbroad, overly burdensome, and harassing, and as seeking
 23 documents that are not relevant to the claims or defenses in this action. Responding
 24 Party also objects to this request on the grounds and to the extent that it seeks
 25 information that is not in the possession, custody or control of Responding Party
 26 and/or is equally or more readily available from another source which is more
 27 convenient, less burdensome, or less expensive. Responding Party objects to this
 28 request to the extent that it is unreasonably cumulative or duplicative of other
                                               52
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 55 of 65 Page
                                    ID #:8524



  1 requests for production. Responding Party objects to the request to the extent that it
  2 purports to require Responding Party to produce documents that contain trade
  3 secrets of Responding Party, or other confidential business, financial, proprietary, or
  4 sensitive information of Responding Party or third parties without entry of a
  5 satisfactory confidentiality order. Responding Party also objects to this request for
  6 “All Documents and Communications” on the grounds that it is overbroad and
  7 subjects Responding Party to unreasonable and undue annoyance, oppression,
  8 burden, and expense. Responding Party objects that this request is vague and
  9 ambiguous and overbroad, including in its use of the phrase “Your.” Responding
 10 Party will interpret “Your” to mean Proton Management Ltd.
 11         Subject to and without waiving the foregoing objections, Responding Party
 12 will produce non-privileged documents responsive to this request located after a
 13 reasonable search, after the entry of a protective order.
 14 REQUEST FOR PRODUCTION NO. 51:
 15         All Documents or Communications concerning Your employees, consultants,
 16 and other agents’ who formerly provided services to Swan ceasing their
 17 engagements with Swan, including but not limited to Documents or
 18 Communications concerning such persons’ resignations from Swan.
 19 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 51:
 20         Responding Party incorporates by references the General Objections and
 21 Objections to Definitions above as if fully set forth herein. Responding Party objects
 22 to this request to the extent that it seeks information that is protected from disclosure
 23 by the attorney-client privilege, work product doctrine, or any other applicable
 24 privilege or protection. Responding Party also objects to this request’s demand as
 25 being compound, overbroad, overly burdensome, and harassing, and as seeking
 26 documents that are not relevant to the claims or defenses in this action. Responding
 27 Party also objects to this request on the grounds and to the extent that it seeks
 28 information that is not in the possession, custody or control of Responding Party
                                               53
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 56 of 65 Page
                                    ID #:8525



  1 and/or is equally or more readily available from another source which is more
  2 convenient, less burdensome, or less expensive. Responding Party objects to this
  3 request to the extent that it is unreasonably cumulative or duplicative of other
  4 requests for production. Responding Party objects to the request to the extent that it
  5 purports to require Responding Party to produce documents that contain trade
  6 secrets of Responding Party, or other confidential business, financial, proprietary, or
  7 sensitive information of Responding Party or third parties without entry of a
  8 satisfactory confidentiality order. Responding Party also objects to this request for
  9 “All Documents and Communications” on the grounds that it is overbroad and
 10 subjects Responding Party to unreasonable and undue annoyance, oppression,
 11 burden, and expense. Responding Party objects that this request is vague and
 12 ambiguous and overbroad, including in its use of the phrase “Your.” Responding
 13 Party will interpret “Your” to mean Proton Management Ltd.
 14         Subject to and without waiving the foregoing objections, Responding Party
 15 will produce non-privileged documents responsive to this request after the entry of a
 16 protective order.
 17 REQUEST FOR PRODUCTION NO. 52:
 18         Documents and Communications concerning the reasons why any of Your
 19 employees, consultants, and other agents who formerly provided services to Swan
 20 no longer provide those services to Swan, including but not limited to Documents
 21 and Communications concerning why any such persons resigned from Swan.
 22 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 52:
 23         Responding Party incorporates by references the General Objections and
 24 Objections to Definitions above as if fully set forth herein. Responding Party objects
 25 to this request to the extent that it seeks information that is protected from disclosure
 26 by the attorney-client privilege, work product doctrine, or any other applicable
 27 privilege or protection. Responding Party also objects to this request’s demand as
 28 being compound, overbroad, overly burdensome, and harassing, and as seeking
                                          54
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 57 of 65 Page
                                    ID #:8526



  1 documents that are not relevant to the claims or defenses in this action. Responding
  2 Party also objects to this request on the grounds and to the extent that it seeks
  3 information that is not in the possession, custody or control of Responding Party
  4 and/or is equally or more readily available from another source which is more
  5 convenient, less burdensome, or less expensive. Responding Party objects to this
  6 request to the extent that it is unreasonably cumulative or duplicative of other
  7 requests for production. Responding Party objects to the request to the extent that it
  8 purports to require Responding Party to produce documents that contain trade
  9 secrets of Responding Party, or other confidential business, financial, proprietary, or
 10 sensitive information of Responding Party or third parties without entry of a
 11 satisfactory confidentiality order. Responding Party also objects to this request for
 12 “All Documents and Communications” on the grounds that it is overbroad and
 13 subjects Responding Party to unreasonable and undue annoyance, oppression,
 14 burden, and expense. Responding Party objects that this request is vague and
 15 ambiguous and overbroad, including in its use of the phrase “Your.” Responding
 16 Party will interpret “Your” to mean Proton Management Ltd.
 17         Subject to and without waiving the foregoing objections, Responding Party
 18 will produce non-privileged documents responsive to this request after the entry of a
 19 protective order.
 20 REQUEST FOR PRODUCTION NO. 53:
 21         All Communications between You and Marlin Capital, including but not
 22 limited to Communications between You and Zachary Lyons.
 23 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 53:
 24         Responding Party incorporates by references the General Objections and
 25 Objections to Definitions above as if fully set forth herein. Responding Party objects
 26 to this request to the extent that it seeks information that is protected from disclosure
 27 by the attorney-client privilege, work product doctrine, or any other applicable
 28 privilege or protection. Responding Party also objects to this request’s demand as
                                             55
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 58 of 65 Page
                                    ID #:8527



  1 being compound, overbroad, overly burdensome, and harassing, and as seeking
  2 documents that are not relevant to the claims or defenses in this action. Responding
  3 Party also objects to this request on the grounds and to the extent that it seeks
  4 information that is not in the possession, custody or control of Responding Party
  5 and/or is equally or more readily available from another source which is more
  6 convenient, less burdensome, or less expensive. Responding Party objects to this
  7 request to the extent that it is unreasonably cumulative or duplicative of other
  8 requests for production. Responding Party objects to the request to the extent that it
  9 purports to require Responding Party to produce documents that contain trade
 10 secrets of Responding Party, or other confidential business, financial, proprietary, or
 11 sensitive information of Responding Party or third parties without entry of a
 12 satisfactory confidentiality order. Responding Party also objects to this request for
 13 “All Documents and Communications” on the grounds that it is overbroad and
 14 subjects Responding Party to unreasonable and undue annoyance, oppression,
 15 burden, and expense. Responding Party objects that this request is vague and
 16 ambiguous and overbroad, including in its use of the phrase “You.” Responding
 17 Party will interpret “You” to mean Proton Management Ltd.
 18         Subject to and without waiving the foregoing objections, Responding Party
 19 will produce non-privileged communications between Proton Management Ltd. and
 20 Marlin Capital concerning the allegionts in the Amended Complaint, after the entry
 21 of a protective order.
 22 REQUEST FOR PRODUCTION NO. 54:
 23         Documents sufficient to identify all travel by You, including but not limited
 24 to Your employees, consultants, and other agents, to California and/or the United
 25 States during the Relevant Period.
 26 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 54:
 27         Responding Party incorporates by references the General Objections and
 28 Objections to Definitions above as if fully set forth herein. Responding Party objects
                                              56
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 59 of 65 Page
                                    ID #:8528



  1 to this request to the extent that it seeks information that is protected from disclosure
  2 by the attorney-client privilege, work product doctrine, or any other applicable
  3 privilege or protection. Responding Party objects to this request to the extent that it
  4 is unreasonably cumulative or duplicative of other requests for production.
  5 Responding Party objects to the request to the extent that it purports to require
  6 Responding Party to produce documents that contain trade secrets of Responding
  7 Party, or other confidential business, financial, proprietary, or sensitive information
  8 of Responding Party or third parties without entry of a satisfactory confidentiality
  9 order. Responding Party also objects to this request’s demand as being compound,
 10 overbroad, overly burdensome, and harassing, and as seeking documents that are not
 11 relevant to the claims or defenses in this action. Plaintiff has agreed to withdraw
 12 this request.
 13 REQUEST FOR PRODUCTION NO. 55:
 14         Documents and Communications regarding business, customer, corporate, or
 15 other relationships between You and Ilios Corp.
 16 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 55:
 17         Responding Party incorporates by references the General Objections and
 18 Objections to Definitions above as if fully set forth herein. Responding Party objects
 19 to this request to the extent that it seeks information that is protected from disclosure
 20 by the attorney-client privilege, work product doctrine, or any other applicable
 21 privilege or protection. Responding Party also objects to this request’s demand as
 22 being compound, overbroad, overly burdensome, and harassing, and as seeking
 23 documents that are not relevant to the claims or defenses in this action. Responding
 24 Party further objects to this request on the grounds that it is vague, overbroad and
 25 subjects Responding Party to unreasonable and undue burden and expense.
 26 Responding Party also objects to this request on the grounds and to the extent that it
 27 seeks information that is not in the possession, custody or control of Responding
 28 Party and/or is equally or more readily available from another source which is more
                                              57
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 60 of 65 Page
                                    ID #:8529



  1 convenient, less burdensome, or less expensive. Responding Party objects to this
  2 request to the extent that it is unreasonably cumulative or duplicative of other
  3 requests for production. Responding Party objects to the request to the extent that it
  4 purports to require Responding Party to produce documents that contain trade
  5 secrets of Responding Party, or other confidential business, financial, proprietary, or
  6 sensitive information of Responding Party or third parties without entry of a
  7 satisfactory confidentiality order. Responding Party further objects to this Request
  8 on the grounds that Propounding Party has failed to comply with Cal. Civ. Proc.
  9 Code § 2019.210, which requires Propounding Party to identify with reasonable
 10 particularly the trade secrets it alleges that any defendant misappropriated before
 11 commencing discovery, as required by Section H of the Court’s Scheduling Order
 12 (Dkt. 95).
 13 REQUEST FOR PRODUCTION NO. 56:
 14         Documents and Communications between You and any United States
 15 governmental agency, California governmental agency, or Wyoming governmental
 16 agency.
 17 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 56:
 18         Responding Party incorporates by references the General Objections and
 19 Objections to Definitions above as if fully set forth herein. Responding Party objects
 20 to this request to the extent that it seeks information that is protected from disclosure
 21 by the attorney-client privilege, work product doctrine, or any other applicable
 22 privilege or protection. Responding Party also objects to this request’s demand as
 23 being compound, overbroad, overly burdensome, and harassing, and as seeking
 24 documents that are not relevant to the claims or defenses in this action. Responding
 25 Party further objects to this request on the grounds that it is vague, overbroad and
 26 subjects Responding Party to unreasonable and undue burden and expense.
 27 Responding Party also objects to this request on the grounds and to the extent that it
 28 seeks information that is not in the possession, custody or control of Responding
                                              58
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 61 of 65 Page
                                    ID #:8530



  1 Party and/or is equally or more readily available from another source which is more
  2 convenient, less burdensome, or less expensive. Responding Party objects to this
  3 request to the extent that it is unreasonably cumulative or duplicative of other
  4 requests for production. Responding Party objects to the request to the extent that it
  5 purports to require Responding Party to produce documents that contain trade
  6 secrets of Responding Party, or other confidential business, financial, proprietary, or
  7 sensitive information of Responding Party or third parties without entry of a
  8 satisfactory confidentiality order. Responding Party objects that this request is
  9 vague and ambiguous and overbroad, including in its use of the phrase “Your.”
 10 Responding Party will interpret “Your” to mean Proton Management Ltd.
 11         Subject to and without waiving the foregoing objections, Responding Party
 12 will produce non-privileged documents responsive to this request located after a
 13 reasonable search, after the entry of a protective order.
 14 REQUEST FOR PRODUCTION NO. 57:
 15         Documents sufficient to identify the GitHub repository or repositories used to
 16 store any source code used by You related to Bitcoin mining.
 17 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 57:
 18         Responding Party incorporates by references the General Objections and
 19 Objections to Definitions above as if fully set forth herein. Responding Party objects
 20 to this request to the extent that it seeks information that is protected from disclosure
 21 by the attorney-client privilege, work product doctrine, or any other applicable
 22 privilege or protection. Responding Party objects to this request to the extent that it
 23 is unreasonably cumulative or duplicative of other requests for production.
 24 Responding Party objects to the request to the extent that it purports to require
 25 Responding Party to produce documents that contain trade secrets of Responding
 26 Party, or other confidential business, financial, proprietary, or sensitive information
 27 of Responding Party or third parties without entry of a satisfactory confidentiality
 28 order. Responding Party further objects to this Request on the grounds that
                                             59
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E      Document 195-3 Filed 05/02/25       Page 62 of 65 Page
                                    ID #:8531



  1 Propounding Party has failed to comply with Cal. Civ. Proc. Code § 2019.210,
  2 which requires Propounding Party to identify with reasonable particularly the trade
  3 secrets it alleges that any defendant misappropriated before commencing discovery,
  4 as required by Section H of the Court’s Scheduling Order (Dkt. 95).
  5 REQUEST FOR PRODUCTION NO. 58:
  6         All Documents, including source code, maintained on GitHub by the GitHub
  7 organization “elektron-tech,” including but not limited to all Documents housed in
  8 the repository named “nxt.”
  9 SUPPLEMENTAL RESPONSE TO REQUEST FOR PRODUCTION NO. 58:
 10         Responding Party incorporates by references the General Objections and
 11 Objections to Definitions above as if fully set forth herein. Responding Party objects
 12 to this request to the extent that it seeks information that is protected from disclosure
 13 by the attorney-client privilege, work product doctrine, or any other applicable
 14 privilege or protection. Responding Party also objects to this request’s demand as
 15 being compound, overbroad, overly burdensome, and harassing, and as seeking
 16 documents that are not relevant to the claims or defenses in this action. Responding
 17 Party further objects to this request on the grounds that it is vague, overbroad and
 18 subjects Responding Party to unreasonable and undue burden and expense.
 19 Responding Party also objects to this request on the grounds and to the extent that it
 20 seeks information that is not in the possession, custody or control of Responding
 21 Party and/or is equally or more readily available from another source which is more
 22 convenient, less burdensome, or less expensive. Responding Party objects to this
 23 request to the extent that it is unreasonably cumulative or duplicative of other
 24 requests for production. Responding Party objects to the request to the extent that it
 25 purports to require Responding Party to produce documents that contain trade
 26 secrets of Responding Party, or other confidential business, financial, proprietary, or
 27 sensitive information of Responding Party or third parties without entry of a
 28 satisfactory confidentiality order. Responding Party also objects to this request for
                                              60
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E     Document 195-3 Filed 05/02/25       Page 63 of 65 Page
                                   ID #:8532



  1 “All Documents” on the grounds that it is overbroad and subjects Responding Party
  2 to unreasonable and undue annoyance, oppression, burden, and expense.
  3 Responding Party further objects to this Request on the grounds that Propounding
  4 Party has failed to comply with Cal. Civ. Proc. Code § 2019.210, which requires
  5 Propounding Party to identify with reasonable particularly the trade secrets it alleges
  6 that any defendant misappropriated before commencing discovery, as required by
  7 Section H of the Court’s Scheduling Order (Dkt. 95).
  8
  9 Dated: April 25, 2025                BERGESON, LLP
 10
 11
                                         By:        /s/ Adam C. Trigg
 12
                                                            Adam C. Trigg
 13
                                         Attorneys for Defendant PROTON
 14                                      MANAGEMENT LTD.
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                               61
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E     Document 195-3 Filed 05/02/25       Page 64 of 65 Page
                                   ID #:8533



  1                                PROOF OF SERVICE
  2 STATE OF CALIFORNIA, COUNTY OF SANTA CLARA
  3       At the time of service, I was over 18 years of age and not a party to this
    action. I am employed in the County of Santa Clara, State of California. My
  4 business address is 111 N. Market Street, Suite 600, San Jose, CA 95113.
  5        On April 25, 2025, I served true copies of the following document(s)
    described as: DEFENDANT PROTON MANAGEMENT LTD’S
  6 SUPPLEMENTAL RESPONSES AND OBJECTIONS TO PLAINTIFF’S
    SECOND SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS on
  7 the interested parties in this action as follows:
  8 Attorneys for Plaintiff                     Attorneys for Defendants
    ELECTRIC SOLIDUS, INC. d/b/a                THOMAS PATRICK FURLONG,
  9 SWAN BITCOIN                                ILIOS CORP., MICHAEL
                                                ALEXANDER HOLMES, RAFAEL
 10 Harris M. Mufson (PHV forthcoming)          DIAS MONTELEONE, SANTHIRAN
    hmufson@gibsondunn.com                      NAIDOO, ENRIQUE ROMUALDEZ,
 11 GIBSON, DUNN & CRUTCHER LLP                 and LUCAS VASCONCELOS
    200 Park Avenue
 12 New York, New York 10166-0193               Grant P. Fondo
    Tel: 212-351-4000                           gfondo@goodwinlaw.com
 13                                             Nirav Bhardwaj
    Matthew D. McGill (PHV )                    nbhardwaj@goodwinlaw.com
 14 mmcgill@gibsondunn.com                      GOODWIN PROCTER
    GIBSON, DUNN & CRUTCHER LLP                 601 Marshall Street
 15 1700 M Street, N.W.                         Redwood City, CA 94063
    Washington, D.C. 20036-4504                 Tel: 650-752-3100
 16 Tel: 202-955-8500
                                                Wendell Lin
 17 Ilissa Samplin SBN 314018                   wlin@goodwinlaw.com
    isamplin@gibsondunn.com                     Goodwin Procter LLP
 18 GIBSON, DUNN & CRUTCHER LLP                 Three Embarcadero Center, 28th Floor
    333 South Grand Avenue                      San Francisco, CA 94111
 19 Los Angeles, California 90071-3197          Tel: 415-733-6271
    Tel: 213-229-7000
 20                                             Matthew P. Kanny
    Christine Demana (PHV )                     mkanny@goodwinlaw.com
 21 cdemana@gibsondunn.com                      Aaron Thompson
    GIBSON, DUNN & CRUTCHER LLP                 athompson@goodwinlaw.com
 22 2001 Ross Avenue, Suite 2100                GOODWIN PROCTER
    Dallas, Texas 75201-2923                    520 Broadway, Suite 500
 23 Tel: 214-698-3100                           Santa Monica, CA 90401
                                                Tel: 424-252-6400
 24
                                                Matthew P. Kanny
 25                                             mkanny@goodwinlaw.com
                                                GOODWIN PROCTER
 26                                             601 South Figueroa Street, Suite 4100
                                                Los Angeles, CA 90017
 27                                             Tel: 231-426-2500
 28
                                              62
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
Case 2:24-cv-08280-MWC-E     Document 195-3 Filed 05/02/25        Page 65 of 65 Page
                                   ID #:8534



  1        BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of
    the document(s) to be sent from e-mail address ahogue@be-law.com to the persons
  2 at the e-mail addresses listed in the Service List. I did not receive, within a
    reasonable time after the transmission, any electronic message or other indication
  3 that the transmission was unsuccessful.
  4       I declare under penalty of perjury under the laws of the United States of
    America that the foregoing is true and correct and that I am employed in the office
  5 of a member of the bar of this Court at whose direction the service was made.
  6        Executed on April 25, 2025, at San Jose, California.
  7
  8                                              /s/ Adam C. Trigg
                                               Adam C. Trigg
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                              63
       PROTON’S SUPP. RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF REQUESTS FOR
                             PRODUCTION, Case No. 2:24-cv-8280-MWC-E
